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1    Christina Goodrich (SBN 261722)
2    christina.goodrich@klgates.com
     Connor J. Meggs (SBN 336159)
3    connor.meggs@klgates.com
4    K&L GATES LLP
     10100 Santa Monica Boulevard
5    Eighth Floor
6    Los Angeles, CA 90067
     Telephone: +1 310 552 5000
7    Facsimile: +1 310 552 5001
8
     Attorneys for Plaintiff
9    Entropic Communications, LLC
10
     (Additional counsel listed in signature block)
11
12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
     ENTROPIC COMMUNICATIONS, LLC,                    Case No. ________
15
           Plaintiff,                                 Case No.: 2:23-cv-01043-JWH-KES
16
                                                      (Lead Case)
17         v.
                                                      Case No. 2:23-cv-05253-JWH-KES
18   DIRECTV, LLC; AT&T, INC.; AT&T                   (Member Case)
     SERVICES, INC.; AND AT&T
19   COMMUNICATIONS, LLC,
                                                      ORIGINALFIRST AMENDED
20   DISH NETWORK CORPORATION, et                     COMPLAINT FOR PATENT
     al.,                                             INFRINGEMENT
21
22         Defendants.
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1    ENTROPIC COMMUNICATIONS, LLC,
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          Plaintiff,
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4         v.
5    DIRECTV, LLC, et al.,
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          Defendants.
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1          Plaintiff, Entropic Communications, LLC (“Entropic”), files this complaint for
2    patent infringement against DIRECTV, LLC (“the DIRECTV defendants”), AT&T,
3    Inc., and AT&T Services, Inc., and AT&T Communications, LLC (the defendants
4    are collectively referred to as “DIRECTV”), and in support thereof alleges as follows:
5          1.     Around the turn of the millennium, cable and satellite providers were
6    eager to deploy new and improved services, but they faced a big problem. The
7    providers needed a high-speed data network inside buildings to deliver those services
8    to various rooms. With existing technology, this meant installing new cabling inside
9    each premises to carry the network. Aside from the costly materials themselves,
10   technicians would be forced to spend hours planning the work, cutting and drilling
11   into walls, and fishing cables throughout a building, all while doing so in ways
12   customers might tolerate. The costs would run into the billions of dollars.
13         2.     A group of inventors had a vision: what if they could repurpose the
14   already-existing coaxial cables common in buildings to do the job? The challenges
15   were daunting. Existing coaxial cabling was never intended to work this way. The
16   mess of existing coax topologies in homes and businesses was a formidable barrier.
17   The splitter devices used to distribute legacy TV obstructed signals from room-to-
18   room. Making it all work would require nothing less than the invention of a new
19   networking architecture founded upon a host of new technologies.
20         3.     They    succeeded.    The    inventors’   company,     called    Entropic
21   Communications Inc. (“Entropic Inc.”), made the technology work. The company
22   was awarded a portfolio of patents for the advances that made it possible. And the
23   company spearheaded forming a new industry standard for the architecture,
24   commonly called Multimedia over Coax Alliance standards (the “MoCA” standards).
25         4.     Today, MoCA is the backbone of data and entertainment services for
26   tens of millions of customers. MoCA is widely used by every major provider in the
27   industry, saving them billions of dollars in costs and avoiding the hassle of re-wiring
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1    for providers and customers alike. Unfortunately, the defendants take advantage of
2    MoCA without paying appropriate licensing fees for the technology. This lawsuit is
3    about redressing that wrong.
4          5.     This is a civil action arising under the patent laws of the United States,
5    35 U.S.C. § 1 et seq., including specifically 35 U.S.C. § 271, based on the defendants’
6    infringement of U.S. Patent Nos. 7,295,518 (the “’518 Patent”), 7,594,249 (the “’249
7    Patent”) (together the “Network Patents”); U.S. Patent Nos. 7,889,759 (the “’759
8    Patent”), 8,085,802 (the “’802 Patent”) (together the “Node Admission Patents”);
9    U.S. Patent Nos. 9,838,213 (the “’213 Patent”), 10,432,422 (the “’422 Patent”)
10   (together the “PQoS Flows Patents”); U.S. Patent Nos. 8,631,450 (the “’450 Patent”),
11   8,621,539 (the “’539 Patent”) (together the “Link Maintenance Patents”); U.S. Patent
12   No. 8,320,566 (the “’0,566 Patent” or the “OFDMA Patent”); U.S. Patent No.
13   10,257,566 (the “’7,566 Patent” or the “Network Coordinator Patent”); U.S. Patent
14   No. 8,228,910 (the “’910 Patent” or the “Packet Aggregation Patent”); U.S. Patent
15   No. 8,363,681 (the “’681 Patent” or the “Clock Sync Patent”) (collectively all of the
16   patents are referred to herein as the “Patents-in-Suit” or “Asserted Patents”). These
17   patents incorporate various elements of technology set forth in the Multimedia over
18   Coax AllianceMoCA standards (the “MoCA” standards) 1.
19                                      THE PARTIES
20         6.     Entropic is a Delaware limited liability company with an office at 7150
21   Preston Road, Suite 300, Plano, Texas 75024.
22         7.     Entropic is the owner by assignment to all right, title, and interest to the
23   Patents-in-Suit. Entropic is the successor-in-interest for the Patents-in-Suit.
24         8.     The DIRECTV defendants have as their registered agent in California,
25   CT Corporation System, 330 N. Brand Blvd., Suite 700, Glendale, California 91023.
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      Each version of the MoCA standards is referred to herein as “MoCA 1.0,” “MoCA
     1.1,” and “MoCA 2.0.”
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1          9. AT&T Services, Inc. and AT&T Communications, LLC are wholly owned
2    by AT&T, Inc. (collectively “AT&T”).
3          10. AT&T, Inc. is a corporation organized and existing under the laws of the
4    State of Delaware with a principal place of business at 208 S. Akard St., Dallas, Texas
5    75202.
6          9.     11. AT&T Services, Inc. is a Delaware corporation with a place of
7    business at 208 South Akard Street, Dallas, Texas 75202.
8          12. AT&T Communications, LLC is a Delaware limited liability company
9    with a place of business at 208 South Akard Street, Dallas, Texas 75202.
10         10.    13. As further alleged herein, this Court has personal jurisdiction over
11   DIRECTV, and venue is proper in this Judicial District.
12       PRESUIT DISCUSSIONS AND DIRECTV’S KNOWLEDGE OF THE
13                                 ASSERTED PATENTS
14         14. Prior to filing this Complaint, Entropic contacted DIRECTV numerous
15   times in an attempt to reach a license agreement with DIRECTV regarding Entropic’s
16   patent portfolio, including discussions aimed at the field of technology standardized
17   by the MoCA. For example: Entropic sent a communication by electronic means to
18   DIRECTV on March 9, 2022, including the Patents-in-Suit. On December 23, 2022
19   and January 2, 2023, Entropic sent DIRECTV another communication by both
20   physical and electronic means regarding a separate license to Entropic’s patents for
21   the field of the standardized networking technology commonly called MoCA, and
22   also seeking to discuss with DIRECTV a typical non-disclosure agreement in order
23   to share such information. The parties subsequently entered a non-disclosure
24   agreement to permit licensing discussions. However, as of now DIRECTV has not
25   taken a license to any patent owned by Entropic, including the Patents-in-Suit.
26         15. DIRECTV has been aware since no later than February 17, 2023 of
27   DIRECTV’s infringement by the deployment of MoCA standardized technology of
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1    numerous Entropic patents, including the Asserted Patents. For example, in early
2    February 2023, Entropic provided DIRECTV copies of claim charts illustrating
3    DIRECTV’s patent infringement of each Asserted Patent by virtue of DIRECTV’s
4    deployment of MoCA technology.
5        HISTORY OF TELEVISION NETWORKING TECHNOLOGY AND
6                 THE STATE OF THE ART AS OF THE EARLY 2000s
7          11.    Cable television in the United States traces its origins back to the late
8    1940s. At that time, the existing method for delivering TV signals was over-the-air
9    broadcast in which content was transmitted as radio waves from a TV station to TV
10   antennas. However, homes in mountain valleys, such as in Eastern Pennsylvania, had
11   poor reception of broadcast TV signals. To solve this problem, mountaintop antennas
12   were used to receive the signals, and then cabling was installed to connect the homes
13   to those mountaintop antennas. This method proved to be effective and reliable, and
14   cable television took off in popularity in the decades that followed, expanding far
15   beyond its original application and leaving the mountain valleys to become a
16   ubiquitous feature of TV distribution nationwide.
17         12.    At its core, a cable system centers around a “head-end,” a facility for
18   distributing television signals to subscribers’ homes. These signals would be carried
19   over coaxial cable or, more recently, a combination of fiber optic and coaxial cables,
20   which allow for transmission over long distances with little signal loss or
21   interference. Coaxial cables owned by the cable provider run to a point of entry at
22   the user’s premises, where the cable provider’s coaxial network connects to the on-
23   premises coaxial network; the signal from the cable provider are distributed
24   throughout the premises via the on-premises coaxial network.
25         13.    In the 1970s, satellite television was developed. A conventional setup
26   for satellite service was “direct-to-home” distribution. With direct-to-home service,
27   television signals are transmitted from an uplink facility to satellites, which transmit
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1    the signals to an outdoor unit installed on a home or multi-dwelling unit. The outdoor
2    unit has a receiver and an antenna that focuses the satellite signals onto the receiver.
3    The outdoor receiver in turn distributes the satellite signals to devices on the premises
4    through, for instance, installed conventional coaxial cabling.
5          14.    As of the early 2000s, coaxial cabling was connected to over 300 million
6    television sets in the United States. At that time, coaxial cabling connections were
7    the preferred in-on-premises video distribution medium for over 90 million cable and
8    satellite homes in the United States.
9    ///
10         15.    As of the early 2000s, and in the decades prior, many homes in the
11   United States had multiple devices that received cable or satellite service over coaxial
12   cabling.
13         16.    In a home or building with multiple devices connected to coaxial
14   cabling, it was standard to use splitters to distribute the signal received from outside
15   the premises to the multiple on-premises devices, such as multiple TVs or digital
16   video recorders, and to connect those devices back to the source.
17         17.    Conventional splitters typically have a single input, also known as a
18   common port. The splitter splits the input signal into multiple outputs, also known as
19   tap ports. Coaxial cable extending from these ports could connect to devices in the
20   home and/or to yet another splitter (or splitters) before the signal finally reached the
21   devices.
22         18.    As used herein, the terms “conventional coaxial network” or
23   “conventional on-premises coaxial network” refers to the legacy coaxial cable
24   installation that was used as of the early 2000s to distribute programming, such as
25   television content, to consumer devices on premises, such as a home, office, or
26   apartment building.
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1          19.    An exemplary architecture of a conventional coaxial network in the
2    early 2000s is depicted below in an annotated version of Fig. 2 of the ’450 Patent.
3    Here, programming from a provider’s network enters the premises at the point of
4    entry. From the point of entry, coaxial cabling is used to connect each device to the
5    provider’s network. These connections are made using a series of splitters to connect
6    each device with the source of programming. In the exemplary architecture below,
7    there are three devices connected to the provider’s network (Set-Top Boxes A, B,
8    and C) through coaxial cabling and multiple splitters. For the connections on the
9    splitters, input ports are marked in blue, with output ports marked in red:
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19         20.    An architecture network similar to that shown in Paragraph 18 could
20   also be used with satellite systems, with appropriate technical variations. Signals
21   could be received by a point of entry to the premises and then distributed throughout
22   the premises through coaxial cabling and a series of splitters.
23         21.    The conventional coaxial network architecture was configured to
24   support transmission from a source outside of the premises, such as a cable head-end,
25   to devices on the premises, such as a set-top box. Thus, the splitters were configured
26   to optimize transmission from the source to an endpoint.
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 1         22.    Among other things, in a conventional coaxial network architecture,
 2   splitters were designed to isolate the output ports from one another. In other words,
 3   the splitters were designed such that a signal being sent from the device towards the
 4   source of programming would not “couple” to the other output ports of the splitter.
 5   Rather, the splitters were designed to attenuate the passage of any signals between
 6   output ports. This was done to reduce interference in the communication channel
 7   between the source of programming and an individual device.
 8         23.    Although this configuration helped facilitate communication from a
 9   programming source to a user’s device, it impeded communication between devices.
10   The conventional wisdom in the field as of the early 2000s, and for many years prior,
11   was that the structure of conventional coaxial networks, including the isolation of
12   end devices from each other, and the unknown and variable composition of the
13   physical network, prevented devices on the same conventional coaxial network from
14   communicating with one another across the output ports of the splitter.
15         24.    As a consequence of the isolation of the output ports and the attenuation
16   of signals crossing between them, it was not well-known or routine to transmit signals
17   between different devices that were connected to the output ports of a conventional
18   coaxial network.
19         25.    In fact, in the conventional coaxial networks of the early 2000s, there
20   was no mechanism, let alone a well-known one, for devices in a home or other
21   premises to communicate with one another at all. Thus, while each consumer device
22   in a home or premises could receive programming from a source outside of the home
23   or premises, there existed no well-known path or method for them to communicate
24   with one another.
25         26.    Just as there was no well-known mechanism for end devices in the home
26   to communicate with each other over conventional coaxial networks in the early
27   2000s, there was also no well-known mechanism for those devices to locate one
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 1   another or become aware of each other’s existence. For instance, there was no
 2   “discovery” or “admission” process that allowed devices within the home to admit a
 3   new device to such an environment. Thus, while each consumer device in a home or
 4   building could establish a connection with a source of programming from outside the
 5   building, there existed no well-known method for those devices to do so with respect
 6   to one another.
 7         27.    An illustration of the capabilities of a conventional coaxial network as
 8   of the early 2000s is depicted below using the exemplary architecture shown in
 9   Paragraph 18. As shown below, a device connected to the conventional coaxial
10   networks of the early 2000s (as an example, Set-Top Box A marked in blue) could
11   communicate with the source of programming (also marked in blue). But that device
12   would not communicate through the conventional coaxial network with any other
13   device, such as Set-Top Boxes B or C, as indicated by the red X’s:
14   ENTROPIC’S LEGACY AS AN INNOVATOR
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           28.    On-premises networks used for satellite TV were similarly limited. A
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     device connected to a satellite receiver via on-premises coaxial cabling could receive
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     programming from a source, but would not communicate through a conventional
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     coaxial network with other devices connected to that network.
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           29.    Further, as noted above, the communication paths between different
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     devices on a coaxial network have different characteristics. This could be due to, for
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     instance, the number of splitters along the communication path, the attenuation
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     characteristics of the splitter(s), the length or quality of the coaxial cable along the
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     path, and so on.
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 1         30.    Further still, the characteristics of the paths can differ between the
 2   upstream and downstream paths between the same two devices. This is because the
 3   channel paths are not necessarily symmetrical and instead may have different
 4   properties depending on the direction of signals sent between the devices. For
 5   instance, the types of splitters used in conventional coaxial installations altered the
 6   properties of signals being sent towards the end devices in a very different way than
 7   they did for signals being sent away from them.
 8         31.    For instance, in the illustration shown in Paragraph 27, the
 9   communication path from Set-Top Box A to Set-Top Box B (which has two splitters
10   between them) could have different properties than the communication path from the
11   Set-Top Box B to Set-Top Box C (which passes through only one splitter). So, too,
12   could the characteristics of the path from Set-Top Box A to Set-Top Box B differ
13   from the characteristics of the path from Set-Top Box B back to Set-Top Box A.
14         32.    These differences in channel characteristics posed yet another
15   technological barrier to communication between devices in a home over a coaxial
16   network. In particular, these characteristics made it difficult to determine the
17   appropriate modulation scheme or other parameters that would allow two or more
18   devices connected to a conventional coaxial network to communicate with one
19   another.
20         33.    Around this same time in the early 2000s, digital video recording
21   (“DVR”) technology was introduced. This technology allowed devices to record
22   television programming for later playback.
23         34.    The introduction of DVR technology created demand for the ability to
24   record content on one device and transmit it to another device in the same home.
25         35.    As of the early 2000s, companies like Microsoft and Hewlett-Packard
26   sold dedicated equipment that could stream content from an “Entertainment Center”
27   to a “Media Extender” Within a home or building. But these options were cost-
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 1   prohibitive for the vast majority of consumers. They also required a networking
 2   infrastructure that very few consumers had in their homes at the time, such as
 3   Ethernet cabling throughout the home or a high-speed wireless network that could
 4   handle video streaming.
 5         36.    In contrast, on-premises coaxial cabling had the benefit of being pre-
 6   installed in tens of millions of homes, but it did not support the transmission of
 7   content from one device to another.
 8         37.    The technological limitations of coaxial networks were understood as of
 9   the early 2000s to pose substantial barriers to meeting the demand for transmitting
10   content between devices in a home. For instance, the limitations of coaxial networks
11   in the early 2000s meant that video recorded on one device could not be streamed to
12   another device in the same home even though both devices were connected to the
13   same conventional coaxial network.
14         38.    In sum, the conventional coaxial network of the early 2000s was built
15   to facilitate “vertical” communication between the source of programming and a
16   particular consumer device. But as a consequence, it was not configured for, and in
17   many ways impeded or prevented, “horizontal” communication between devices
18   connected to the conventional coaxial network in a consumer’s home.
19   ///
20   ///
21   ENTROPIC INC. IS FOUNDED TO OVERCOME THE LIMITATIONS OF
22                    CONVENTIONAL COAXIAL NETWORKS
23         39.    16. Entropic Inc., the predecessor-in-interest to Entropic as to the
24   Patents-in-Suit, was founded in San Diego, California in 2001 by Dr. Anton Monk,
25   Itzhak Gurantz, Ladd El Wardani, and others. Entropic Inc. was exclusively
26   responsible for the development of the initial versions of the MoCA standards,
27   including MoCA 1.0, ratified in 2006, MoCA 1.1, ratified in 2007, and was
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 1   instrumental in the development of MoCA 2.0, ratified in 2010. It also developed
 2   Direct Broadcast Satellite (“DBS”) Outdoor Unit (“ODU”) single wire technology,
 3   and System-on-Chip (“SoC”) solutions for set-top boxes (STBs) in the home
 4   television and home video markets.
 5         17. Under the technical guidance of Dr. Monk, Entropic Inc. grew to be
 6   publicly listed on the NASDAQ in 2007. After the public listing, the company
 7   acquired RF Magic, Inc. in 2007, a company specializing in DBS ODU technology
 8   and related hardware.
 9         18. Additional growth between 2007 and 2015 bolstered the technical
10   expertise of Entropic Inc. with respect to signal acquisition, stacking, filtering,
11   processing, and distribution for STBs and cable modems.
12         40.    Entropic Inc. set out to solve the problems with conventional coaxial
13   networks described in Paragraphs 11 through 38 above.
14         41.    Entropic Inc. tackled the problem and managed what was considered
15   technologically forbiddingly difficult, if not impossible: high-speed point-to-point
16   digital communication using existing coaxial installations. This required substantial
17   inventive effort that is embodied by the claimed inventions of the Patents-in-Suit.
18         42.    Entropic Inc.’s innovations, as embodied in the claimed inventions of
19   the Patents-in-Suit, transformed coaxial networking technology by allowing for an
20   on-premises network to be established over existing on-premises coaxial cabling.
21         43.    Among other applications, Entropic Inc.’s new technology allowed
22   devices in the home to transmit content to one another over the existing coaxial
23   cables.
24         44.    Entropic Inc.’s innovations, as embodied in the claimed inventions of
25   the Patents-in-Suit, allowed a new type of logical network to exist on a physical
26   structure—the conventional coaxial network—that was not designed to allow such a
27   logical network to exist.
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 1         45.    Prior to Entropic Inc.’s innovations, the logical architecture of
 2   conventional coaxial networks was limited to a “top-down” model. This meant that
 3   a source of programming could transmit content to each of the individual devices
 4   connected to a conventional coaxial network, but the individual devices could not
 5   transmit content to one another. This limitation was a consequence of the
 6   technological limitations of the components of the coaxial network at the time, such
 7   as the characteristics of the splitters used.
 8         46.    With Entropic Inc.’s innovations, as embodied in the claimed inventions
 9   of the Patents-in-Suit, an entirely new networking model became possible for
10   communication over existing on-premises coaxial cabling. Now the conventional
11   coaxial network could operate in a point-to-point or “mesh” fashion, creating new
12   communication paths that did not exist before. The logical communication model
13   thus enabled is illustrated below, using an example of a network that has four set-top
14   boxes connected to a coaxial network (note that the arrows below represent logical
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 1   connections between devices, rather than physical links; the underlying coaxial cable
 2   topology remains unchanged from the conventional installations discussed above):
 3         47.     As explained in more detail below, each of the claimed inventions of the
 4   Patents-in-Suit contributed to this transformation in coaxial networking technology.
 5         48.     19. ForOver the years that followed, Entropic Inc. pioneered innovative
 6   networking technologies, as well as television and internet related technologies.
 7   These technologies simplified or eliminated the need for installation requiredof new
 8   equipment to support wideband reception of multiple channels for demodulation,
 9   improved homeimprove internet performance, and enabled more efficient and
10   responsive remote troubleshooting and upstream signal management for cable
11   providers. These innovations represented significant advances in the field, simplified
12   the implementation of those advances, and reduced expenses for providers and
13   customers alike.
14         20. In 2015, MaxLinear, Inc. (“MaxLinear”)—a leading provider of radio-
15   frequency, analog, digital, and mixed-signal semiconductor solutions—acquired
16   Entropic Inc., and the pioneering intellectual property developed by Dr. Monk and
17   his team.
18         21. In 2021, Plaintiff Entropic was established and MaxLinear transferred to
19   Entropic a portfolio of intellectual property representing the Entropic and MaxLinear
20   innovation in the cable and satellite services markets.
21         49.     Entropic Inc. received multiple awards, recognition, and praise for its
22   early innovative work that transformed the types of communication that were
23   possible over coaxial cable networks. These awards and recognition include:
24               • In 2003, the “Breakthrough Innovation in Communications” Award
25                 from the T Sector San Diego;
26               • In   2004,   the   “Most   Innovative   New        Product”   Award   for
27                 Telecommunications (17th Annual CONNECT Awards);
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 1               • In 2004, the first annual “Innovator in Telecommunications” Award
 2                 from the San Diego Telecom Council;
 3               • In 2004, a finalist for the “Startup of the Year” Award from EDN
 4                 Magazine;
 5               • In 2005, a finalist for the “Innovation of the Year” Award from EDN
 6                 Magazine.
 7                      MOCA® AND THE MOCA® STANDARDS
 8         50.     At the same time Entropic Inc. was inventing a new networking
 9   architecture for coaxial networks, it also founded an organization to standardize the
10   new networking architecture it had invented and to promote its use. This became
11   known as the Multimedia over Coax Alliance, or “MoCA.”
12         51.     22. MoCA is an alliance of companies that operate in the field of
13   technology associated with providing multimedia services, such as television
14   operators, consumer electronics manufacturers, semiconductor vendors, and original
15   equipment manufacturers (OEMs). MoCA has developed and published a standard
16   governing the operation of devices using existing coaxial cable.
17         23. By the year 2000, cable and satellite providers were facing the problem of
18   distributing services as data between the various locations in a dwelling where
19   desired by customers. This would require a full digital network, capable of
20   communication between any node in the network, in any direction. Traditional
21   computer networking such as Ethernet provided some of the functionality, but the
22   cabling necessary for Ethernet or the like was (and is) very expensive to install.
23         24. At the time, millions of dwellings and businesses across the United States
24   often already had existing coaxial cable (“coax”) deployed throughout the premises
25   to provide traditional television programming services to various rooms. However,
26   this cabling was not designed or envisaged as a two-way and point-to-point network,
27   nor a network capable of carrying high speed digital data traffic. The coax was
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 1   deployed as a “tree” topology which simply splits the signal coming from an external
 2   source (the cable or satellite feed) for distribution of video content to the various
 3   locations on the premises in the “downlink” direction only. Thus, it was impossible
 4   to simply use this existing cable to make the new point-to-point high-quality network
 5   connections between devices located on the premises desired by the cable and
 6   satellite providers.
 7         25. Entropic Inc. tackled the problem and managed what was considered
 8   unlikely or impossible—to make a high-speed point-to-point digital communication
 9   network using existing coax installations. This required substantial inventive effort
10   that is embodied by the Patents-in-Suit. For example, one of the significant
11   challenges faced by Entropic Inc. was the varying nature of the exact topology of
12   existing on-premises coax infrastructure that a network architecture would have to
13   handle. The topology and types of devices (such as passive or active splitters, their
14   characteristics, etc.) greatly influence the environment for signals transferred from
15   node to node.
16         52.    26. Entropic Inc. later founded an organization to standardize the
17   networking architecture and promote its use. This became known as the Multimedia
18   over Coax Alliance, or “MoCA.” ThatThe MoCA acronym has also come into
19   common usage as the name given to the networking architecture itself—that Entropic
20   Inc. had invented, now embodied in the MoCAtechnical standards. documents
21   promulgated by MoCA.
22         53.     The technology defined in the MoCA standards enables the point-to-
23   point high-quality network so badly needed bycommunication that met a long-felt
24   need in the cable and satellite providerstelevision industries. Crucially, it also
25   provides the operators the ability to deploy theircutting-edge services that require
26   transmitting content between end devices without the enormously costly effort of
27   installing Ethernet or similar cabling to carry the data.
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 1         27. There have been several iterations of the MoCA standards, beginning with
 2   MoCA 1.0, which was ratified in 2006. Since 2006, MoCA has ratified subsequent
 3   versions of the MoCA standards, including MoCA 1.1 and MoCA 2.0.
 4         54.     Entropic Inc. was exclusively responsible for the development of the
 5   initial version of the MoCA standards, including MoCA 1.0, ratified in 2006.
 6         55.     28. The MoCA standards ensure network robustness along with inherent
 7   low packet error rate performance and very low latency that is relatively independent
 8   of network load. The logical network model of the MoCA network is significantly
 9   different from the underlying on-premises legacy coaxial network. For example, due
10   to the effects of splitter jumping and reflections, the channel characteristics for a link
11   between two MoCA nodes may be dramatically different from a link between any
12   other two MoCA nodes.
13         29. The Asserted Patents address the very technological advances set forth in
14   the MoCA standards. The Network Patents (the ’518 and ’249 Patents) and the
15   OFDMA Patent (the ’0,566 Patent) describe MoCA networks, including how data
16   communicated via MoCA networks is modulated by full-mesh pre-equalization
17   techniques known as Adaptive Constellation Multitone (ACMT), a form of OFDM
18   modulation.
19         30. As described in the Network Coordinator Patent (the ’7,566 Patent) and
20   the Node Admission Patents (the ’759 and ’802 Patents), a particular MoCA node,
21   known as a Network Coordinator, controls the admission of nodes to the MoCA
22   Network. The Network Coordinator sends out a variety of data packets using a
23   modulation profile that all the MoCA nodes can receive. For broadcast and multicast
24   transmissions, a broadcast bitloading profile can be calculated and used for each node
25   receiving the transmissions in the MoCA network.
26         31. MoCA nodes use a modulation profile for every point-to-point link. A
27   variety of probe messages are transmitted by the MoCA nodes and used to create
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 1   modulation profiles, optimize performance, and allow for various calibration
 2   mechanisms. In order to maintain network performance as network conditions
 3   change, the MoCA standards define techniques to maintain optimized point-to-point
 4   and broadcast links between all of the MoCA nodes. The Link Maintenance Patents
 5   (the ’450 and ’539 Patents) describe link maintenance operations involving the
 6   processing of probe messages at regular intervals to recalculate parameters such as
 7   modulation profile and transmit power.
 8         32. This MoCA network allows for devices (MoCA nodes) connected to a
 9   MoCA network to communicate data formatted in a variety of formats. The Packet
10   Aggregation Patent (the ’910 Patent), for example, describes the communication
11   of data packets in an Ethernet format, via the on-premises coaxial network without
12   the need to deploy a separate physical network on the premises.
13         33. The Clock Sync Patent (the ’681 Patent) describes the synchronization
14   of the clocks of each MoCA node in the network with a master clock provided by the
15   Network Coordinator as these transmissions are fully coordinated.
16         34. The MoCA standards and the PQoS Flow Patents (the ’213 and ’422
17   Patents) describe how particular MoCA nodes can request additional network
18   resources and/or transmission opportunities. This allows the MoCA node to transfer
19   data more quickly across the MoCA network by borrowing resources that have been
20   scheduled to other MoCA nodes.
21         56.    35. TheseThe technological developments embodied in the MoCA
22   standard enable users to avoid the significant costs associated with rewiring their
23   home or business in order to deploy a number ofallow high speed point-to-point to
24   communication between devices throughout the premises. Further, these
25   technological developments allow services requiring reliable, high-speed data and
26   video communications between devices on a home network to be provided to the user
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 1   while utilizing the on-premises coaxial networkcabling already present in the user’s
 2   home or business.
 3           57.    Entropic Inc. spearheaded MoCA, and its founders are the inventors of
 4   several patents—including each of the Patents-in-Suit—that cover various
 5   mandatory aspects of the MoCA standards.
 6           58.    36. Entropic Inc. spearheaded MoCA, and its founders are the inventors
 7   of several patents that cover various mandatory aspects of the MoCA standards. In
 8   other words, byBy conforming to the MoCA standards, a product necessarily
 9   practices those patents, either by itself, as a part of a MoCA-compliant system, or in
10   the method in which it operates.
11   ENTROPIC INC.’S EARLY INVENTIONS ARE DIRECTED TO SOLVING
12            TECHNOLOGICAL PROBLEMS IN COAXIAL NETWORKS
13           59.    Several of the Patents-in-Suit claim priority to dates between 2001 to
14   2004. These include the ’518 Patent, the ’249 Patent, the ’759 Patent, the ’802 Patent,
15   the ’539 Patent, and the ’450 Patent.
16           60.    Each of these Patents-in-Suit, as described below, claims a
17   technological solution to a problem arising in the context of enabling packet-based,
18   point-to-point networking over installed coaxial cable infrastructure in homes or
19   buildings, as of the early 2000s.
20           61.    The technology claimed in each of these Patents-in-Suit solves specific
21   technological problems inherent in transforming the topology of existing coaxial
22   networks to enable point-to-point communication between devices in a customer’s
23   home.
24           62.    Each of these Patents-in-Suit claims activities that whether viewed alone
25   or in combination were not routine or conventional in existing on-premises coaxial
26   networks as of the date the patents were filed.
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 1          63.       The ’518 Patent. Claim 1 of the ’518 Patent recites a data
 2   communication network comprising:
 3          at least two network devices, each network device comprising a multi-
 4                carrier modulator for modulating data, an up converter for
 5                translating the modulated data to an RF carrier frequency, a down
 6                converter for translating an RF signal, and a multi-carrier
 7                demodulator for demodulating the translated RF signal to produce
 8                data; and
 9   ///
10          cable wiring comprising a splitter with a common port and a plurality
11                of tap ports, and a plurality of segments of coaxial cable connecting
12                between the splitter tap ports and the network devices;
13          whereby network devices communicate with each other through the
14                cable wiring using multi-carrier signaling;
15          wherein network devices transmit probe messages through the cable
16          wiring and analyze received probe message signals to determine
17          channel characteristics and bit loading is selected based on the
18          determined channel characteristics.
19          64.       Claim 1 of the ’518 Patent is directed to enabling communication
20   between devices that are connected to the tap (output) ports of a coaxial splitter. This
21   type of communication has since been referred to as “splitter jumping” or “jumping
22   the splitter.”
23          65.       Claim 1 of the ’518 Patent recites a solution to the technological hurdles
24   associated with “splitter jumping.”
25          66.       Claim 1 of the ’518 Patent recites the use of probe messages to
26   determine channel characteristics and bit loading for communication between
27   network devices connected to a splitter. These recited activities improve the
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 1   functionality of coaxial networking technology. In particular, these recited activities
 2   overcome the problems with conventional coaxial networks, where communication
 3   paths between devices were impeded by the isolation between splitter ports and the
 4   high variance in channel characteristics between those devices.
 5         67.    Prior to the invention of the ’518 Patent, communication between
 6   devices that are connected to the output ports of a coaxial splitter (splitter jumping)
 7   faced numerous technological hurdles, and was not routine, conventional, or well-
 8   known, as explained in Paragraphs 11 to 38 above.
 9   ///
10   ///
11         68.    Prior to the invention of the ’518 Patent, splitter jumping in a coaxial
12   network for the purpose of high bandwidth communications between devices in a
13   home, such as streaming of video, was not routine, conventional, or well-known.
14         69.    Prior to the invention of the ’518 Patent, it was not a routine,
15   conventional, or well-known activity to determine the characteristics of the
16   communication channels between devices in a home coaxial network.
17         70.    The invention of the ’518 Patent enabled a new type of communication
18   over coaxial networks that was not routine, conventional, or well-known. It achieved
19   this innovation by improving the technology that had been installed in millions of
20   homes across this United States for years, but which no one had previously been able
21   to improve in the same way.
22         71.    The element of “cable wiring comprising a splitter with a common port
23   and a plurality of tap ports, and a plurality of segments of coaxial cable connecting
24   between the splitter tap ports and the network devices” recites a particular
25   technological environment, namely a coaxial network within a home with devices
26   connected by a splitter.
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 1         72.      As described in Paragraphs 11 to 38 above, the conventional coaxial
 2   network had unique technological limitations as of the priority date of the ’518 Patent
 3   that made horizontal communication between devices (splitter jumping) difficult and
 4   impractical. In particular, the isolation between output ports and attenuation of the
 5   signals crossing between them posed a technological barrier to this type of
 6   communication.
 7         73.      Claim 1 of the ’518 Patent recites multiple elements that were not
 8   routine or conventional activity in the particular technological environment of
 9   existing on-premises coaxial networks as of the priority date of the ’518 Patent.
10         74.      The element of “whereby network devices communicate with each other
11   through the cable wiring using multi-carrier signaling” recites a technological
12   capability that was not routine or conventional as of the priority date of the ’518
13   Patent. As of that date, communication between network devices connected to the
14   tap ports of a splitter in a coaxial network (splitter jumping) was not a routine or well-
15   known activity for the reasons explained in Paragraphs 11 to 38 above.
16         75.      The element of “wherein network devices transmit probe messages
17   through the cable wiring and analyze received probe message signals to determine
18   channel characteristics and bit loading is selected based on the determined channel
19   characteristics” recites a technological capability that was not routine or conventional
20   as of the priority date of the ’518 Patent for the reasons explained in Paragraphs 11
21   to 38 above.
22         76.      As of the priority date of the ’518 Patent, network devices connected to
23   the tap ports of a splitter in a conventional coaxial network did not send or receive
24   signals to one another. Sending signals of any kind between such devices was not a
25   routine or well-known activity in this type of network for the reasons explained in
26   Paragraphs 11 to 38 above.
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 1         77.    As of the priority date of the ’518 Patent, network devices connected to
 2   the tap ports of a splitter did not send or receive probe messages to one another.
 3   Sending probe messages between devices connected to the tap ports of a splitter in a
 4   conventional coaxial network was not a routine or well-known activity as of that date
 5   for the reasons explained in Paragraphs 11 to 38 above.
 6         78.    As of the priority date of the ’518 Patent, network devices connected to
 7   the tap ports of a splitter in a conventional coaxial network did not determine the
 8   characteristics of the communication channel between them. Characterizing the
 9   communication channel between two devices in such a network was not a routine or
10   well-known activity as of that date for the reasons explained in Paragraphs 11 to 38
11   above.
12         79.    As of the priority date of the ’518 Patent, it was not routine or
13   conventional to combine (1) communicating between devices connected to the tap
14   ports of a splitter in a coaxial network; (2) sending and receiving probe messages
15   between those devices using the coaxial network; and (3) determining the
16   characteristics of the channel between them.
17         80.    The ’249 Patent. Claim 10 of the ’249 Patent recites a broadband local
18   area network for transmitting modulated signals using coaxial cable building wiring
19   containing a plurality of branches comprising:
20         a filter located at the point of entry of the building wiring that rejects
21         network signals originating in the building wiring such that the rejected
22         network signals do not pass through the filter, but rather are reflected
23         by the filter back into all branches of the building wiring;
24         at least one signal splitter;
25         a plurality of terminal devices connected to the wiring branches, each
26         terminal device capable of communicating with other terminal devices
27         the reflected signal path created by the filter, wherein the terminal
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 1         devices perform equalization on the received signal that restores a flat
 2         frequency response to overcome communication channel impairments
 3         caused by the reflected signals.
 4         81.    Claim 10 of the ’249 Patent is directed to enabling communication
 5   between devices that are connected to a broadband local area network using coaxial
 6   cabling.
 7         82.    Claim 10 of the ’249 Patent recites a solution to the technological
 8   hurdles associated with “splitter jumping.” Claim 10 of the ’249 Patent recites the
 9   use of a filter at the point of entry to a building as part of a coaxial network that
10   includes a splitter. Claim 10 of the ’249 Patent further recites communication
11   between devices within the building using a reflected signal path created by the filter
12   and using equalization to overcome communication channel impairments caused by
13   the reflected signals.
14         83.    These recited activities improve the functionality of conventional
15   coaxial networking technology. In particular, these recited activities overcome the
16   problems with conventional coaxial networks, where communication paths between
17   devices were impeded by the isolation between splitter ports and the high variance in
18   channel characteristics between those devices.
19         84.    Prior to the invention of the ’249 Patent, it was not routine,
20   conventional, or well-known in conventional coaxial networks to use a filter that
21   rejects signals and reflects them, building back into the branches of the building
22   wiring.
23         85.    Prior to the invention of the ’249 Patent, communication between
24   devices using a reflected signal path in a conventional coaxial network was not
25   routine, conventional, or well-known.
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 1         86.    Prior to the invention of the ’249 Patent, communication between
 2   devices in a conventional coaxial network that includes a signal splitter was not
 3   routine, conventional, or well-known.
 4         87.    Prior to the invention of the ’249 Patent, performing equalization on a
 5   received signal to overcome channel impairments caused by reflected signals in a
 6   conventional coaxial network was not routine, conventional, or well-known.
 7         88.    The element of “a plurality of terminal devices connected to the wiring
 8   branches, each terminal device capable of communicating with other terminal
 9   devices the reflected signal path created by the filter” recites a technological
10   capability that was not routine or conventional as of the priority date of the ’249
11   Patent for the reasons explained in Paragraphs 11 to 38 above.
12         89.    As of the priority date of the ’249 Patent, it was not routine or
13   conventional to combine (1) a filter located at the point of entry of a building to reflect
14   signals back through all branches of coaxial wiring; (2) a signal splitter; (3) a plurality
15   of terminal devices connected to the wiring branches that are capable of
16   communicating with other terminal devices through the reflected signal path created
17   by the filter; and (4) terminal devices performing equalization on the received signal
18   to overcome communication channel impairments caused by the reflected signal.
19         90.    The ’759 Patent. Claim 1 recites a method for determining a common
20   bit-loading modulation scheme for communicating between a plurality of nodes in a
21   broadband cable network (“BCN”), the method comprising:
22         transmitting a probe signal from a transmitting node within the plurality
23         of nodes to a sub-plurality of receiving nodes within the plurality of
24         nodes;
25         receiving a plurality of response signals from the sub-plurality of
26         receiving nodes wherein each response signal includes a bit-loading
27         modulation scheme determined by a corresponding receiving node; and
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 1         determining the common bit-loading modulation scheme from the
 2         received plurality of response signals;
 3         receiving the probe signal at one receiving node of the plurality of
 4         receiving nodes through a channel path of transmission;
 5         determining the transmission characteristics of the channel path at the
 6         one receiving node; and
 7         transmitting a response signal from the one receiving node to the
 8         transmitting node,
 9         wherein the transmission characteristics of the channel path are
10         determined by measuring the signal-to-noise (“SNR”) characteristics of
11         the received probe signal at the one receiving node and
12         wherein determining a common bit-loading modulation scheme
13         includes:
14                comparing a plurality of bit-loading modulation schemes from
15                the corresponding received plurality of response signals; and
16                determining the common bit-loading modulation scheme in
17                response to comparing the plurality of bit-loaded modulation
18                schemes.
19   ///
20         91.    Claim 1 is directed to solving a technological problem in the field of
21   broadband cable networks. In particular, conventional broadband cable networks at
22   the time were used for transmission of programming in a “top-down” fashion to
23   devices in a home or other building. These conventional broadband cable networks
24   did not facilitate transmission of data from one device to another device on the
25   network, let alone from one device to multiple devices simultaneously on the
26   network.
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 1         92.    Claim 1 is directed to a point-to-point topology, where each device in a
 2   network communicates with the other devices in that network in a direct and non-
 3   hierarchical fashion. As of the priority date of the ’759 Patent, this network topology
 4   was not routine, conventional, or well-known in the field of conventional coaxial or
 5   broadband cable networks for the reasons explained in Paragraphs 11 to 38 above.
 6         93.    Claim 1 improves the technology of broadband cable networking by
 7   enabling devices to communicate using broadcast transmissions that are customized
 8   for the characteristics of the communication paths in that network.
 9         94.    At the time of the invention of the ’759 Patent, it was not routine,
10   conventional, or well-known in the art for devices connected to a conventional
11   broadband cable network in the home or other premises to operate as nodes that could
12   send data to, and receive data from, other nodes on that network.
13         95.    At the time of the invention of the ’759 Patent, it was not routine,
14   conventional, or well-known in the art for a device connected to a conventional
15   broadband cable network to send probes to, or receive probes from another device on
16   that network.
17         96.    At the time of the invention of the ’759 Patent, it was not routine,
18   conventional, or well-known in the art for devices connected to a broadband cable
19   network to determine characteristics of the channel path between them.
20         97.    At the time of the invention of the ’759 Patent, it was not routine,
21   conventional, or well-known in the art for devices connected to a broadband cable
22   network to communicate with another simultaneously through the use of broadcast
23   transmissions.
24         98.    At the time of the invention of the ’759 Patent, it was not known in the
25   art that when transmitting data over a broadband cable network from one node to
26   multiple nodes it is generally more efficient to broadcast data over a common bit-
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 1   loading scheme than to transmit data to each receiving node using a bit-loading
 2   scheme specific to each individual communication path.
 3         99.      The ’802 Patent. Claim 3 of the ’802 Patent recites a method for
 4   transmitting packets from a Broadband Cable Network (“BCN”) modem to a
 5   plurality of nodes in a broadband cable network, the method comprising:
 6         formatting the packets in a MAC subsystem that transmits the packets within
 7               the broadband cable network, including formatting a data and control
 8               packet for transmission within the broadband cable network, the data and
 9               control packet having a header and a variable length payload, the header
10               having at least five fields selected from the group consisting of a transmit
11               clock field, packet type field, packet subtype field, version field, source
12               node ID field, destination node ID field, and header check sequence field;
13         receiving the packets from the MAC subsystem at a Modem subsystem that is
14               in signal communication with the MAC subsystem and that appends
15               information to the packets; and
16         upconverting the packets with the information for transmission via the
17               broadband cable network at a RF subsystem that is in signal communication
18               with the Modem subsystem;
19         wherein at least one of the packets is a beacon packet that has a channel number
20               field, change field, sequence number field, network coordinator ID field,
21               next beacon index field, admission frame length field, admission window,
22               asynchronous MAP length field and a beacon Cyclic Redundancy
23               Checking (CRC) field.
24         100. Claim 3 of the ’802 Patent improves the technology of broadband cable
25   networking by enabling data connections between a BCN modem and nodes of a
26   broadband cable network directly over the existing coaxial cable with its current
27   architecture, without the need to modify the existing cable infrastructure. The
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 1   claimed methodology is used in a process that has since been referred to as “node
 2   admission,” during which a BCN modem forms initial connections to, and becomes
 3   part of, a logical point-to-point network running on a conventional coaxial data
 4   network.
 5         101. Claim 3 of the ’802 Patent recites unique data structures that are
 6   specific, and contribute to the improvement in conventional coaxial networking
 7   technology that allows a modem on a broadband cable network to communicate with
 8   a plurality of other modems on that network.
 9         102. In particular, claim 3 of the ’802 Patent recites use of a “source node ID
10   field,” “destination node ID field,” and a “network coordinator ID field.” Each of
11   these fields are unique to the node-to-node communication recited in claim 3 of the
12   ’802 Patent, and which are used to achieve the technological advance in broadband
13   cable networking that enabled communication between devices on the network.
14         103. Prior to the invention of the ’802 Patent, admitting a new node into an
15   conventional coaxial network that allowed high bandwidth communications between
16   devices in a home was not routine, conventional, or well-known.
17         104. Prior to the invention of the ’802 Patent, establishing optimal
18   modulation and other transmission parameters that are optimized and periodically
19   adapted to the channel between pairs of devices in a broadband cable network was
20   not routine, conventional, or well-known.
21         105. Prior to the invention of the ’802 Patent, the use of a “source node ID
22   field,” “destination node ID field,” and a “network coordinator ID field” was not
23   routine, conventional, or well-known in a broadband cable network. This is because
24   devices in a conventional broadband cable network at the time did not communicate
25   with one another and thus did not identify the source, destination, or network
26   coordinator.
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 1         106. The invention of the ’802 Patent enabled flexibility—by allowing
 2   admission of nodes—in this new type of communication over conventional coaxial
 3   networks that was not routine, conventional, or well-known. It achieved this
 4   innovation without requiring changes to the legacy coaxial cables or splitters that
 5   were already installed in millions of homes across the United States.
 6         107. The element of “transmitting packets from a Broadband Cable Network
 7   (BCN) modem to a plurality of nodes in a broadband cable network” recites a
 8   particular technological environment, namely a broadband cable network.
 9         108. As described in Paragraphs 11 to 38 above, this broadband cable
10   network environment had unique technological limitations as of the priority date of
11   the ’802 Patent that made locating nodes on the network difficult and impractical. In
12   particular, the isolation between output ports and attenuation of the signals crossing
13   between them posed a technological barrier to forming this type of connection
14   between nodes.
15         109. Claim 3 of the ’802 Patent recites multiple limitations that were not a
16   routine or conventional activity in the particular technological environment of
17   broadband cable networking as of the priority date of the ’802 Patent.
18         110. The element of “formatting the packets in a MAC subsystem that
19   transmits the packets within the broadband cable network, including formatting a
20   data and control packet for transmission within the broadband cable network, the data
21   and control packet having a header and a variable length payload, the header having
22   at least five fields selected from the group consisting of a transmit clock field, packet
23   type field, packet subtype field, version field, source node ID field, destination node
24   ID field, and header check sequence field” recites a technological capability that was
25   not routine or conventional as of the priority date of the ’802 Patent. As of that date,
26   the transmitting of packets (including the format of those packets) between network
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 1   devices connected to the tap ports of a splitter in a coaxial network was not a routine
 2   or well-known activity for the reasons explained in Paragraphs 11 to 38 above.
 3         111. The element of “upconverting the packets with the information for
 4   transmission via the broadband cable network at a RF subsystem that is in signal
 5   communication with the Modem subsystem” recites a technological capability that
 6   was not routine or conventional as of the priority date of the ’802 Patent. As of that
 7   date, upconverting packets so that the transmitted data is carried on RF signals at
 8   frequencies higher than the range typically used by cable TV was not a routine or
 9   well-known activity because as explained in Paragraphs 11 to 38 above, packet
10   communications between network devices on a home coaxial network was not
11   routine or well-known.
12         112. The element of “wherein at least one of the packets is a beacon packet
13   that has a channel number field, change field, sequence number field, network
14   coordinator ID field, next beacon index field, admission frame length field,
15   admission window, asynchronous MAP length field and a beacon Cyclic
16   Redundancy Checking (CRC) field” recites a technological capability that was not
17   routine or conventional as of the priority date of the ’802 Patent. As of that date,
18   packet communications between network devices connected to the tap ports of a
19   splitter in a coaxial network (splitter jumping)—and therefore the type and the
20   formatting of such communications packets—was not a routine or well-known
21   activity for the reasons explained in Paragraphs 11 to 38 above.
22         113. As of the priority date of the ’802 Patent, network devices connected to
23   the tap ports of a splitter in a coaxial network did not send or receive signals to one
24   another. Sending signals of any kind between such devices was not a routine or well-
25   known activity in this type of network for the reasons explained in Paragraphs 11 to
26   38 above.
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 1   ///
 2         114. As of the priority date of the ’802 Patent, network devices connected to
 3   the tap ports of a splitter did not send or receive beacon messages to one another.
 4   Sending beacon messages between devices connected to the tap ports of a splitter in
 5   a coaxial network was not a routine or well-known activity as of that date for the
 6   reasons explained in Paragraphs 11 to 38 above.
 7         115. The ’450 Patent. Claim 29 of the ’450 Patent recites a broadcasting
 8   method within a Broadband Coaxial Network (“BCN”), comprising:
 9         a transmitting node transmitting a probe signal to a plurality of
10         receiving nodes;
11         the transmitting node receiving a plurality of response signals
12         comprising a plurality of bit-loading modulation schemes from the
13         plurality of receiving nodes, wherein each of the plurality of receiving
14         nodes
15                 receives the probe signal through a corresponding channel path,
16                 determines transmission characteristics of the corresponding
17                 channel path,
18                 determines      a   bit-loading   modulation   scheme    for   the
19                 corresponding channel path based on the transmission
20                 characteristics, and
21                 transmits a response signal to the transmitting node informing
22                 the transmitting node of the bit-loading modulation scheme for
23                 the corresponding channel path;
24         the transmitting node comparing the plurality of bit-loading modulation
25         schemes to determine a common bit-loading modulation scheme; and
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 1         the transmitting node transmitting a broadcast signal relaying the
 2         common bit-loading modulation scheme to the plurality of receiving
 3         nodes.
 4   ///
 5         116. Claim 29 is directed to solving a technological problem in the field of
 6   broadband coaxial networks. In particular, conventional broadband coaxial networks
 7   at the time did not facilitate transmission of data from one device to another device
 8   on the network, let alone from one device to multiple devices simultaneously on the
 9   network.
10         117. Claim 29 recites a broadcasting method that is specific, and contributes
11   to the improvement in conventional coaxial networking technology that allows a
12   node on a broadband coaxial network to communicate efficiently with a plurality of
13   other nodes on that network.
14         118. In particular, claim 29 recites determining a “common bit-loading
15   modulation scheme” based on a “plurality of bit-loading modulation schemes”
16   determined by a plurality of receiving nodes on the network in response to probe
17   signals sent by a transmitting node. The sending of probes and determination of a
18   common bit-loading scheme is used to achieve the technological advance in
19   broadband coaxial networking that enabled efficient communication between devices
20   on the network.
21         119. Claim 29 improves the technology of conventional broadband coaxial
22   networks by enabling devices to communicate using broadcast transmissions that are
23   customized for the characteristics of the communication paths in that network.
24         120. At the time of the invention of the ’450 Patent, it was not routine,
25   conventional, or well-known in the art for devices connected to a conventional
26   broadband coaxial network in the home to operate as nodes that could send data to,
27   and receive data from other nodes on that network.
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 1           121. At the time of the invention of the ’450 Patent, it was not routine,
 2   conventional, or well-known in the art for a device connected to a conventional
 3   broadband coaxial network to send probe signals to, or receive probe signals from
 4   another device on that network.
 5   ///
 6           122. At the time of the invention of the ’450 Patent, it was not routine,
 7   conventional, or well-known in the art for devices connected to a conventional
 8   broadband coaxial network to determine characteristics of the channel path between
 9   them.
10           123. At the time of the invention of the ’450 Patent, it was not routine,
11   conventional, or well-known in the art for devices connected to a conventional
12   broadband coaxial network to communicate with another simultaneously through the
13   use of broadcast transmissions.
14           124. At the time of the invention of the ’450 Patent, it was not routine,
15   conventional, or well-known in the art for a device connected to a conventional
16   broadband coaxial network to relay a common bit-loading modulation scheme to
17   other devices on a coaxial network.
18           125. At the time of the invention of the ’450 Patent, it was not known in the
19   art that when transmitting data over a broadband coaxial network from one node to
20   multiple nodes it is generally more efficient to broadcast data over a common bit-
21   loading scheme than to transmit data to each receiving node using a bit-loading
22   scheme specific to each individual communication path.
23           126. The ’539 Patent. Claim 1 of the ’539 Patent recites a modem for
24   communication to at least one node across at least one channel of a coaxial network,
25   the modem comprising:
26           a transmitter; and
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 1         a MAC layer in signal communication with the transmitter, the MAC
 2         layer using at least one probe packet as an echo profile probe to measure
 3         node delay spread on the network and the MAC layer optimizing the
 4         preamble and cyclic prefix requirements or other parameters in
 5         response to the measured node delay spread on the network;
 6         wherein the transmitter communicates the at least one probe packet.
 7   ///
 8         127. Claim 1 is directed to solving a technological problem in the field of
 9   coaxial networks. In particular, modems on a conventional coaxial network at the
10   time of the ’539 Patent did not communicate with one another, and thus did not have
11   a means for measuring the delay on the network or optimizing parameters based on
12   that measurement.
13         128. Claim 1 recites the use of probes to measure network delay spread that
14   is specific, and contributes to the improvement in coaxial networking technology that
15   allows a modem on a conventional coaxial network to communicate efficiently with
16   other nodes on that network.
17         129. Claim 1 recites the use of probes to optimize communication parameters
18   that is specific, and contributes to the improvement in conventional coaxial
19   networking technology that allows a modem on a coaxial network to communicate
20   efficiently with other nodes on that network.
21         130. Claim 1 improves the communication capabilities of modems connected
22   to a coaxial network. In particular, claim 1 recites the use of an echo profile probe to
23   measure node delay spread, which conventional coaxial networks did not measure or
24   have reason to measure. Claim 1 also recites optimizing communication parameters
25   in response to the measured delay spread, which conventional coaxial networks did
26   not do or have reason to do.
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 1         131. At the time of the invention of the ’539 Patent, it was not routine,
 2   conventional, or well-known in the art for modems connected to a conventional
 3   broadband cable network to communicate with another.
 4         132. At the time of the invention of the ’539 Patent, it was not routine,
 5   conventional, or well-known in the art for modems connected to a conventional
 6   broadband cable network to transmit probe packets, let alone for the specific purpose
 7   of measuring node delay spread on the network.
 8         133. The element of “a MAC layer in signal communication with the
 9   transmitter, the MAC layer using at least one probe packet as an echo profile probe
10   to measure node delay spread on the network” recites a technological capability that
11   was not routine or conventional in existing on-premises coaxial networks as of the
12   priority date of the ’539 Patent for the reasons explained in Paragraphs 11 to 38
13   above.
14         134. The element of “the MAC layer optimizing the preamble and cyclic
15   prefix requirements or other parameters in response to the measured node delay
16   spread on the network” recites a technological capability that was not routine or
17   conventional in existing on-premises coaxial networks as of the priority date of the
18   ’539 Patent for the reasons explained in Paragraphs 11 to 38 above.
19    ENTROPIC INC. CONTINUES TO INNOVATE WITH IMPROVEMENTS
20                  TO CONVENTIONAL COAXIAL NETWORKS
21         135. Through MoCA and the inventions of the Patents-in-Suit described in
22   Paragraphs 39 through 134 above, Entropic Inc. revolutionized the delivery of high-
23   speed data networking services to customers on existing home coaxial infrastructure.
24   For example, using MoCA, cable and satellite providers were able to link multiple
25   devices in a customer’s home in a data network, allowing for a DVR device to record
26   content and stream it to another device in the home.
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 1         136. Now that devices in a conventional coaxial network could communicate
 2   with one another due to Entropic Inc.’s inventions, a greater need arose for faster,
 3   more reliable data connections to support applications such as transmitting high-
 4   quality video. This became more and more apparent as customers continued to want
 5   to connect more devices to their home networks.
 6         137. Furthermore, Internet subscribers expected delivery of more and higher-
 7   bandwidth services, including multimedia-based applications such as real-time
 8   streaming of high definition (“HD”) video and entertainment. This demand for
 9   higher-bandwidth services included the use of bandwidth for streaming video stored
10   on one device on a coaxial network to another device on that network in another room
11   in a subscriber’s home.
12         138. In the 2000s, system operators faced a growing challenge of supporting
13   real-time, multimedia streaming applications simultaneous with standard Internet
14   access traffic while maintaining coexistence with already existing services, such as
15   TV, within the same home network environment. Critical to effectively serving all
16   these data flows is a method to ensure that each application is guaranteed the
17   bandwidth and minimal latency necessary to provide a satisfactory user experience.
18         139. One barrier to streaming video between devices in a home over coaxial
19   network was latency in video transmission. High amounts of latency, or delay,
20   adversely affects the viewing experience. A disruption to the flow of streaming video
21   or audio can result in stuttering playback, blocky video, or a complete loss of audio,
22   which can prompt a service call from the subscriber. As a result, there was a need for
23   technical solutions that could provide quality of service (“QoS”) mechanisms to
24   control the operation of the network. These mechanisms would manage the priorities
25   of different traffic flows on the network to ensure that data was delivered in
26   accordance with the technical requirements, such as latency or throughput
27   requirements, of particular devices or applications.
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 1         140. Another challenge for streaming video between devices in a home over
 2   a coaxial network was managing the demands for bandwidth made by the different
 3   devices. This challenge arose in part from Entropic Inc.’s prior inventions, which
 4   allowed for communications between devices over a coaxial network. In the mid-
 5   2000s, there arose a need for technological solutions that could improve the operation
 6   of a packet-based, point-to-point network over conventional coaxial installations,
 7   such as a MoCA network, to provide bandwidth allocations to multiple devices in
 8   these new network architectures that Entropic Inc. had made possible.
 9         141. Another challenge for streaming video between devices in a home over
10   a coaxial network was establishing the role of a network coordinator to manage
11   bandwidth demands and quality of service. In point-to-point communication within
12   a packet-based network on conventional coaxial installations, such as that enabled by
13   the MoCA network architecture, no specific device in the home would be pre-defined
14   as the node that manages communications of all other devices on that network.
15         142. Instead, the devices would need to coordinate with one another to
16   determine dynamically, based on characteristics of the network, which device would
17   serve as a “Network Coordinator (NC) node.” Thus, the specific nature of the point-
18   to-point network architecture in question required new solutions for how the NC node
19   would operate in order to achieve the bandwidth allocation and quality of service
20   requirements that the network required.
21         143. As of the mid-2000s, it was not routine or conventional to distinguish
22   between types of data or to guarantee bandwidth for a type of data flow for data
23   transmitted over a logical point-to-point network running over a conventional coaxial
24   network architecture.
25         144. To address these new challenges brought on by its own prior innovative
26   work on coaxial networks, Entropic Inc. continued its inventive work in coaxial
27   networking after the initial development of MoCA 1.0.
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 1         145. Entropic Inc. was exclusively responsible for the development of the
 2   next version of the MoCA standard, MoCA 1.1, ratified in 2007.
 3         146. Entropic Inc. was also instrumental in the development of MoCA 2.0,
 4   ratified in 2010.
 5         ENTROPIC INC.’S LATER INVENTIONS FURTHER IMPROVED
 6            CONVENTIONAL COAXIAL NETWORK TECHNOLOGY
 7         147. Several of the Patents-in-Suit claim priority to 2007 to 2008. These
 8   Patents-in-Suit include the ’213 Patent, the ’422 Patent, the ’0,566 Patent, and the
 9   ’681 Patent.
10         148. These Patents-in-Suit, described below, recite improvements in the
11   efficiency and capabilities of the logical point-to-point networks running on top of
12   conventional coaxial networking technology.
13   ///
14         149. The claimed inventions of the Patents-in-Suit below were standardized
15   in subsequent versions of the MoCA standards.
16         150. The ’213 Patent. Claim 1 of the ’213 Patent recites a communication
17   method implemented in a Network Coordinator (“NC”) node of a communication
18   network of a premises, the method comprising:
19         broadcasting to a plurality of nodes of the network, a request for a guaranteed
20             quality of service flow in the network from a source node to at least one
21             egress node, the plurality of nodes of the network to which the NC node
22             broadcasts the request including at least the source node and the at least one
23             egress node;
24         receiving a first response to the request from the source node, wherein the
25             source node is the point of origin for the purposes of the guaranteed quality
26             of service flow for data to be communicated within the guaranteed quality
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 1            of service flow, the first response indicating whether the source node has
 2            available resources to support the guaranteed quality of service flow;
 3         receiving a second response to the request from the at least one egress node
 4            indicating whether the at least one egress node has available resources to
 5            support the guaranteed quality of service flow; and
 6         if the source node and the at least one egress node have available resources to
 7            support the guaranteed quality of service flow, then allocating resources for
 8            the guaranteed quality of service flow;
 9         if the source node and the at least one egress node do not have available
10            resources to support the guaranteed quality of service flow, then:
11               denying the guaranteed quality of service flow; and
12               if the guaranteed quality of service flow is denied based on bandwidth-
13                   related reasons, then determining a maximum data rate that would
14                   have resulted in a successful request for a guaranteed quality of
15                   service flow, and transmitting a message comprising information
16                   describing the maximum data rate that would have resulted in a
17                   successful request for a guaranteed quality of service flow.
18         151. Claim 1 of the ’213 Patent is directed to improving a specific networking
19   architecture where one node functions as a “Network Coordinator (NC) node” to
20   manage quality of service for a plurality of nodes on the network. The role of an NC
21   node is not generic to networks, but arises in specific point-to-point networking
22   technologies, such as MoCA.
23         152. Claim 1 of the ’213 Patent improves the technology of broadband cable
24   networking by establishing and maintaining guaranteed quality of service flows in a
25   network using specific functions of the NC node. This type of QoS mechanism has
26   since been referred to as “parameterized quality of service” or “PQoS.”
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 1           153. Claims 3 and 4 of the ’213 Patent, which depend from claim 1, recite
 2   the particular technological environment of a coaxial cable-based network within a
 3   home.
 4           154. Prior to the invention of the ’213 Patent, guaranteeing bandwidth for
 5   particular data types in a network through use of an NC node was not routine,
 6   conventional, or well-known.
 7           155. Prior to the invention of the ’213 Patent, establishing dedicated quality
 8   of service flows for particular data types in a logical point-to-point network through
 9   use of an NC node was not routine, conventional, or well-known.
10           156. Prior to the invention of the ’213 Patent, it was not a routine,
11   conventional, or well-known activity to distinguish the types of data transmitted on
12   a logical point-to-point network through use of an NC node.
13           157. The invention of the ’213 Patent enabled a new type of QoS method for
14   networks through use of an NC node that was not routine, conventional, or well-
15   known. It further improved the performance of the logical point-to-point data
16   networks formed over conventional coaxial networks.
17   ///
18           158. The elements of “a communication network of a premises,” “a plurality
19   of nodes of the network,” “a source node,” and “at least one egress node” recite a
20   particular technological environment, namely a physical communication network of
21   a premises, such as a home or office.
22           159. As described in Paragraphs 135 to 143 above, such networks faced
23   unique technological challenges as of the priority date of the ’213 Patent as
24   customers’ demand rose for higher-bandwidth services through their Internet
25   subscriptions. In particular, known QoS methods proved inadequate as video
26   streaming became more prevalent.
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 1         160. Claim 1 of the ’213 Patent recites multiple elements that were not
 2   routine or conventional activity in the particular technological environment of logical
 3   point-to-point networks that used an NC node as of the priority date of the ’213
 4   Patent, including logical networks running on a conventional coaxial network.
 5         161. The element of “broadcasting to a plurality of nodes of the network, a
 6   request for a guaranteed quality of service flow in the network from a source node to
 7   at least one egress node, the plurality of nodes of the network to which the NC node
 8   broadcasts the request including at least the source node and the at least one egress
 9   node” recites a technological capability that was not routine or conventional as of the
10   priority date of the ’213 Patent. As of that date, initiating a guaranteed quality of
11   service flow in a logical point-to-point network running on a conventional coaxial
12   network was not a routine or well-known activity for the reasons explained in
13   Paragraphs 135 to 143 above.
14         162. The elements of “receiving a first response to the request from the
15   source node, wherein the source node is the point of origin for the purposes of the
16   guaranteed quality of service flow for data to be communicated within the guaranteed
17   quality of service flow, the first response indicating whether the source node has
18   available resources to support the guaranteed quality of service flow” “receiving a
19   second response to the request from the at least one egress node indicating whether
20   the at least one egress node has available resources to support the guaranteed quality
21   of service flow” recite technological capabilities that were not routine or
22   conventional as of the priority date of the ’213 Patent. As of that date, determining
23   whether the endpoint nodes of a data flow have the available resources to guarantee
24   a quality of service flow in a logical point-to-point network was not a routine or well-
25   known activity for the reasons explained in Paragraphs 135 to 143 above.
26         163. The element of “if the source node and the at least one egress node have
27   available resources to support the guaranteed quality of service flow, then allocating
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 1   resources for the guaranteed quality of service flow” and “if the source node and the
 2   at least one egress node do not have available resources to support the guaranteed
 3   quality of service flow, then . . . transmitting a message comprising information
 4   describing the maximum data rate that would have resulted in a successful request
 5   for a guaranteed quality of service flow” recite technological capabilities that were
 6   not routine or conventional as of the priority date of the ’213 Patent. As of that date,
 7   establishing a guaranteed quality of service flow in a logical point-to-point network
 8   if the endpoint nodes of a data flow have available resources to guarantee a particular
 9   bandwidth, or alternatively determining a maximum bandwidth, was not a routine or
10   well-known activity for the reasons explained in Paragraphs 135 to 143 above.
11         164. As of the priority date of the ’213 Patent, subscribers’ on-premises
12   communication networks were not equipped to handle the growing demand for
13   Internet services, including multimedia applications such as video streaming.
14   Prioritizing data flow by data type and guaranteeing bandwidth for a particular data
15   type was not a routine or well-known activity in conventional coaxial networks for
16   the reasons explained in Paragraphs 135 to 143 above.
17         165. The ’422 Patent. Claim 1 of the ’422 Patent recites a communication
18   network comprising:
19         a requesting node;
20         a Network Coordinator (NC) node; and
21         a plurality of requested nodes,
22         wherein:
23                the requesting node is operable to, at least, communicate a first message
24                    to the NC node requesting a list comprising parameterized quality of
25                    service (PQoS) flows of the communication network; and
26                the NC node is operable to, at least:
27                       receive the first message from the requesting node; and
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 1                       in response to the received first message:
 2                             communicate a second message to each requested node of
 3                                the plurality of requested nodes, the second message
 4                                requesting from said each requested node a list
 5                                identifying PQoS flows for which said each requested
 6                                node is an ingress node;
 7                             receive, from said each requested node a respective third
 8                                message comprising a list identifying PQoS flows for
 9                                which said each requested node is an ingress node;
10                             form an aggregated list of PQoS flows comprising each
11                                respective list identifying PQoS flows from each
12                                received third message; and
13                             communicate a fourth message to at least the requesting
14                                node comprising the aggregated list,
15                             wherein the second message specifies a range of PQoS
16                                flows being queried.
17           166. The ’422 Patent is a family member of the ’213 Patent, and as described
18   above, the type of QoS mechanism described in the ’213 and ’422 Patents has since
19   been referred to as “parameterized quality of service” or “PQoS.”
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21   ///
22           167. Claim 1 of the ’422 Patent is directed to evaluating the existing
23   guaranteed quality of service flows in a logical point-to-point network that uses an
24   NC node to manage QoS.
25           168. Like the ’213 Patent, Claim 1 of the ’422 Patent improves the
26   technology of specific network architectures by enabling PQoS through use of an NC
27   node.
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 1         169. As described above with respect to the ’213 Patent, the invention of the
 2   ’422 Patent is directed to improving the technology used in networks that rely on an
 3   NC node, such as a coaxial cable-based network within a home that uses MoCA
 4   technology to enable communication between all nodes in the home.
 5         170. As described above with respect to the ’213 Patent, prior to the invention
 6   of the’422 Patent, guaranteeing bandwidth for particular data types in a logical point-
 7   to-point network using an NC node, such as a MoCA network, was not routine,
 8   conventional, or well-known.
 9         171. Prior to the invention of the’422 Patent, establishing dedicated quality
10   of service flows for particular data types in a logical point-to-point network through
11   use of an NC node was not routine, conventional, or well-known.
12         172. Prior to the invention of the ’422 Patent, it was not a routine,
13   conventional, or well-known activity to distinguish the types of data transmitted
14   through a logical point-to-point network using an NC node.
15         173. The invention of the ’422 Patent enabled a new type of QoS method for
16   networks using an NC node that was not routine, conventional, or well-known. It
17   further improved the performance of logical point-to-point networks formed over
18   legacy coaxial cables or splitters that were already installed in millions of homes
19   across the United States.
20         174. The elements of “a communication network,” “a requesting node,” “a
21   Network Coordinator (NC) node,” and “a plurality of requested nodes” recite a
22   particular technological environment, namely a physical communication network of
23   a premises, such as a home or office.
24         175. As described in Paragraphs 135 to 143 above, such networks faced
25   unique technological challenges as of the priority date of the ’422 Patent as
26   customers’ demand rose for higher-bandwidth services through their Internet
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 1   subscriptions. In particular, known QoS methods proved inadequate as video
 2   streaming became more prevalent.
 3         176. Claim 1 of the ’422 Patent recites multiple elements that were not
 4   routine or conventional activity in the particular technological environment of
 5   communications networks as of the priority date of the ’422 Patent.
 6         177. The elements of “communicate a first message to the NC node
 7   requesting a list comprising PQoS flows of the communication network” and
 8   “communicate a second message to each requested node of the plurality of requested
 9   nodes, the second message requesting from said each requested node a list identifying
10   PQoS flows for which said each requested node is an ingress node” recite a
11   technological capability that was not routine or conventional as of the priority date
12   of the ’213 Patent. As of that date, requesting a list of existing guaranteed quality of
13   service flows in a network was not a routine or well-known activity for the reasons
14   explained in Paragraphs 135 to 143 above.
15         178. The element of “receive, from said each requested node a respective
16   third message comprising a list identifying PQoS flows for which said each requested
17   node is an ingress node” recites a technological capability that was not routine or
18   conventional as of the priority date of the ’213 Patent. As of that date, identifying
19   resource commitments of existing guaranteed quality of service flows of a source or
20   ingress node in a logical point-to-point network was not a routine or well-known
21   activity for the reasons explained in Paragraphs 135 to 143 above.
22         179. The element of “form an aggregated list of PQoS flows comprising each
23   respective list identifying PQoS flows from each received third message” recites a
24   technological capability that was not routine or conventional as of the priority date
25   of the ’213 Patent. As of that date, identifying and aggregating resource commitments
26   of existing guaranteed quality of service flows of all source or ingress nodes in a
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 1   logical point-to-point network was not a routine or well-known activity for the
 2   reasons explained in Paragraphs 135 to 143 above.
 3         180. As of the priority date of the ’422 Patent, subscribers’ on-premise
 4   communication networks were not equipped to handle the growing demand for
 5   Internet services, including multimedia application such as video streaming.
 6   Prioritizing data flow by data type and guaranteeing bandwidth for a particular data
 7   type was not a routine or well-known activity in conventional coaxial networks for
 8   the reasons explained in Paragraphs 135 to 143 above.
 9         181. The ’0,566 Patent. Claim 1 of the ’0,566 Patent recites a method for
10   communications transmission using orthogonal frequency division multiple access
11   on a network comprising:
12         a) providing a plurality of transmitting network devices with a set of available
13            subcarriers for orthogonal frequency division multiple access;
14         b) providing a corresponding element of a pseudorandom noise sequence for
15            each subcarrier of the set of available subcarriers;
16         c) allocating a subset of the set of available subcarriers to each of the
17            transmitting network devices;
18         d) a transmitting network device of the plurality of devices mapping a packet
19            onto a plurality of used subcarriers of its allocated subset of available
20            subcarriers, wherein the step of mapping the packet comprises mapping the
21            packet onto a plurality of quadrature amplitude modulated symbols to be
22            transmitted on the used subcarriers;
23         e) the transmitting network device performing a predetermined transformation
24            on a quadrature amplitude modulated symbol using the element of the
25            pseudorandom noise sequence corresponding to the used subcarrier;
26         f) the transmitting network device transmitting the transformed symbol to a
27            receiving network device.
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 1         182. Claim 1 of the ’0,566 Patent is directed to solving a technological
 2   problem in the field of broadband coaxial networks. In particular, with the many
 3   continued advancements in data communication technology in the 2000s, as
 4   described above in Paragraphs 135 to 143, more and more devices were being
 5   introduced into home data networks with high bandwidth communications
 6   capabilities, and subscribers were expecting delivery of more and higher-bandwidth
 7   services such as HD video streaming. This increase in demand presented technical
 8   challenges to data networks formed on existing coaxial networks.
 9         183. Claim 1 improves the performance of a coaxial communications
10   network by enabling multiple transmitting network devices to transmit under an
11   orthogonal frequency divisional multiple access (“OFDMA”) scheme to a receiving
12   network device. Such a communications method enables the efficient allocation of
13   bandwidth among various communicating devices on the network.
14         184. At the time of the invention of the ’0,566 Patent, employing OFDMA
15   schemes on a coaxial network was not routine, conventional, or well-known.
16         185. At the time of the invention of the ’0,566 Patent, it was not a routine,
17   conventional, or well-known activity to provide, on a conventional coaxial network,
18   “a plurality of transmitting network devices with a set of available subcarriers for
19   orthogonal frequency division multiple access” and “a corresponding element of a
20   pseudorandom noise sequence for each subcarrier of the set of available subcarriers.”
21         186. At the time of the invention of the ’0,566 Patent, it was not a routine,
22   conventional, or well-known activity to allocate, on a conventional coaxial network,
23   “a subset of the set of available subcarriers to each of the transmitting network
24   devices.”
25         187. At the time of the invention of the ’0,566 Patent, it was not a routine,
26   conventional, or well-known activity for a network device on a coaxial data network
27   to “map[] a packet onto a plurality of used subcarriers of its allocated subset of
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 1   available subcarriers, wherein the step of mapping the packet comprises mapping the
 2   packet onto a plurality of quadrature amplitude modulated symbols to be transmitted
 3   on the used subcarriers,” to “perform[] a predetermined transformation on a
 4   quadrature amplitude modulated symbol using the element of the pseudorandom
 5   noise sequence corresponding to the used subcarrier,” or to “transmit[] the
 6   transformed symbol to a receiving network device.”
 7         188. The invention of the ’0,566 Patent enabled a new and more efficient data
 8   communication scheme (i.e., OFMDA) over existing on-premises coaxial networks
 9   that was not routine, conventional, or well-known. It achieved this innovation
10   without requiring changes to the legacy coaxial cables or splitters that were already
11   installed in millions of homes across the United States.
12         189. The ’681 Patent. Claim 1 of the ’681 Patent recites a method for
13   synchronizing a plurality of nodes on a communication network, comprising:
14         exchanging a local clock time between a first node and a second node over the
15            communication network, wherein the exchange comprises:
16                transmitting a first packet from the first node to the second node,
17                   wherein the first packet includes a first packet clock time set to the
18                   local clock time of the first node at transmission time, and includes
19                   a scheduled arrival clock time, and
20                setting the local clock time of the second node to the first packet clock
21                   time;
22         performing a ranging method between the first and second nodes based on the
23            local clock time exchanged, wherein the ranging method results in an
24            estimated propagation delay between the first and second node, and
25            wherein the ranging method comprises:
26                transmitting a second packet from the second node to the first node,
27                   wherein the second packet is transmitted from the second node at the
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 1                   scheduled arrival clock time, and wherein the second packet is
 2                   received by the first node at an actual arrival clock time,
 3                calculating and storing the estimated propagation delay at the first node,
 4                   wherein calculating the estimated propagation delay is based on the
 5                   scheduled arrival clock time and the actual arrival time, and
 6                transmitting a third packet from the first node to the second node,
 7                   wherein the third packet comprises the estimated propagation delay;
 8                   and
 9         adjusting the local clock time of either the first or second node based on the
10            estimated propagation delay, thereby resulting in a synchronized local
11            clock time between the first and second node.
12         190. Claim 1 of the ’681 Patent is directed to solving a technological problem
13   in the field of broadband coaxial networks. In particular, with the many continued
14   advancements in data communication technology in the 2000s, as described above in
15   Paragraphs 135 to 143, more and more devices are being introduced into home data
16   networks with high bandwidth communications capabilities, and subscribers were
17   expecting delivery of more and higher-bandwidth services such as HD video
18   streaming. This increase in demand presented technical challenges to data networks
19   formed on existing coaxial networks.
20         191. Claim 1 of the ’681 Patent recites an improvement in clock
21   synchronization that solves a problem in estimating and accounting for propagation
22   delay. The solution is directed to logical point-to-point networks, such as coaxial
23   networks using MoCA technology, that require an estimate of propagation delay in a
24   multipath environment where the propagation delay between two nodes is not known
25   in advance, can vary dynamically based on changes in the channel path
26   characteristics between them, and where the delay between two nodes in one
27   direction can differ from the delay in the opposite direction.
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 2         192. At the time of the invention of the ’681 Patent, it was not a routine,
 3   conventional, or well-known activity to exchange, on a conventional coaxial
 4   network, “a local clock time between a first node and a second node over the
 5   communication network” involving “transmitting a first packet from the first node to
 6   the second node, wherein the first packet includes a first packet clock time set to the
 7   local clock time of the first node at transmission time, and includes a scheduled
 8   arrival clock time” and “setting the local clock time of the second node to the first
 9   packet clock time.”
10         193.   At the time of the invention of the ’681 Patent, it was not a routine,
11   conventional, or well-known activity to “perform[] a ranging method between the
12   first and second nodes based on the local clock time exchanged, wherein the ranging
13   method results in an estimated propagation delay between the first and second node”
14   involving “transmitting a second packet from the second node to the first node,
15   wherein the second packet is transmitted from the second node at the scheduled
16   arrival clock time, and wherein the second packet is received by the first node at an
17   actual arrival clock time,” “calculating and storing the estimated propagation delay
18   at the first node, wherein calculating the estimated propagation delay is based on the
19   scheduled arrival clock time and the actual arrival time,” and “transmitting a third
20   packet from the first node to the second node, wherein the third packet comprises the
21   estimated propagation delay.”
22         194. At the time of the invention of the ’681 Patent, it was not a routine,
23   conventional, or well-known activity to “adjust[] the local clock time of either the
24   first or second node based on the estimated propagation delay, thereby resulting in a
25   synchronized local clock time between the first and second node.”
26         195. The invention of the ’681 Patent enabled improvements to the efficiency
27   of conventional coaxial networks that were not routine, conventional, or well-known.
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 1   It achieved this innovation without requiring changes to the legacy coaxial cables and
 2   splitters that were already installed in millions of homes across the United States.
 3               THE ACCUSED MOCA INSTRUMENTALITIES AND
 4                                 ACCUSED SERVICES
 5         196. 37. DIRECTV utilizes various instrumentalities, deployable as nodes in
 6   a MoCA-compliant coaxial cable network.
 7         197. 38. DIRECTV deploys the instrumentalities to, inter alia, provide a
 8   whole-premises DVR network over an on-premises coaxial cable network, with
 9   products including DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
10   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
11   DIRECTV HR54, and DIRECTV HS17 (and devices that operate in a similar
12   manner) serving as nodes operating with data connections compliant with MoCA 1.0,
13   1.1, and/or 2.0. Such components are referred to herein as the “Accused MoCA
14   Instrumentalities.” The MoCA-compliant services offered by DIRECTV employing
15   the Accused MoCA Instrumentalities, including the operation of a MoCA-compliant
16   network in which such instrumentalities are deployed, are referred to herein as the
17   “Accused Services.”
18         198. 39. An exemplary illustration of the topology of various Accused MoCA
19   Instrumentalities in a DIRECTV deployment is pictured below.21
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       This is an example of the products used in the infringing network and is not
     intended to limit the scope of products accused of infringement.
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16         199. 40. Upon information and belief, the Accused MoCA Instrumentalities
17   form networks over a coaxial cable network in accordance with the MoCA 1.0, 1.1,
18   and/or 2.0.
19         200. 41.    Specifically,   upon   information    and   belief,   DIRECTV
20   instrumentalities including the DIRECTV C31, DIRECTV C41, DIRECTV C51,
21   DIRECTV C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV
22   HR44, DIRECTV HR54, and DIRECTV HS17 form networks over a coaxial cable
23   network in accordance with MoCA 1.0, 1.1, and/or 2.0.
24         201. 42. Most commonly, the Accused Services are offered and provided in
25   exchange for fees paid to DIRECTV.
26         202. 43. DIRECTV itself also sometimes tests and demonstrates the Accused
27   Services, by means of Accused MoCA Instrumentalities.
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 2         203. 44. In some deployments of the Accused MoCA Instrumentalities and
 3   the performance of the Accused Services, DIRECTV uses one or more of the
 4   DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV C61K,
 5   DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 6   DIRECTV HS17 (and devices that operate in a similar manner), to provide signals,
 7   programming and content utilizing a data connection carried over a coaxial cable
 8   network in accordance with the MoCA standards.
 9         204. 45. In or about January 2013 Rudy Ramirez, in his capacity as
10   DIRECTV Panamericana’s senior director of product development, stated that
11   MoCA technology “will allow for simpler home network installations and home
12   topology that will allow us to provide our customers with the best entertainment
13   experience in the region.”32
14         205. 46. Upon information and belief, Mr. Ramirez, and/or other authorized
15   DIRECTV or DIRECTV Panamericana personnel authorized the publication and
16   attribution of the preceding quote to Mr. Ramirez.
17         206. 47. In January 2010, Romulo Pontual, in his capacity as DIRECTV’s
18   chief technology officer stated, “[b]y integrating MoCA technology into our STBs
19   along with the existing deployment of Single Wire Multiswitch, we will set ourselves
20   apart from the competition as a leading provider of connected home technology.”43
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24   32
       https://www.globenewswire.com/news-
     release/2013/01/08/515194/9308/en/DIRECTV-PanAmericana-Selects-Entropic-s-
25
     Silicon-and-Software-to-Roll-Out-Advanced-TV-Viewing-Services.html
26   43
       https://www.globenewswire.com/news-
27   release/2010/01/25/412869/9308/en/Entropic-Communications-Silicon-Selected-
     by-DIRECTV-for-Home-Networking-Deployments.html
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 1         207. 48. Upon information and belief, Mr. Pontual, and/or other authorized
 2   DIRECTV personnel authorized the publication and attribution of the preceding
 3   quotation to Mr. Pontual.
 4   ///
 5         208. 49. In or about January 2012, Mike Pulli, in his capacity as CEO of Pace
 6   Americas, the manufacturer and/or supplier of DIRECTV receivers, announced that
 7   MoCA was a core requirement in DIRECTV receivers.54
 8         209. 50. Upon information and belief, DIRECTV required that its receivers
 9   be equipped with MoCA capabilities in at least 2012.
10         210. 51. Upon information and belief, DIRECTV continues to require that
11   certain of DIRECTV’s set top boxes have MoCA capabilities.
12         211. 52. DIRECTV was aware of its deployment and use of MoCA at least
13   as early as the later of its involvement with MoCA and six years prior to the filing of
14   this complaint.
15         212. 53. Upon information and belief, DIRECTV was aware that Entropic
16   Inc. invented technology underlying the MoCA standards. Accordingly, such
17   Entropic Inc. technology would be incorporated into any instrumentality compliant
18   with the MoCA standards.
19         213. 54. Upon information and belief, DIRECTV and/or its subsidiaries was
20   a member of MoCA beginning in 2012 through at least October, 2019, providing it
21   with full access to then-existing versions of the MoCA standards.
22         214. 55. Upon information and belief, DIRECTV was aware that Entropic
23   Inc. intended to and did pursue patent protection for technology related to MoCA, at
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26   54
       https://www.globenewswire.com/en/news-
27   release/2012/01/11/465253/9308/en/Entropic-Communications-Powers-the-Pace-
     HR34-Home-Media-Center-HD-DVR-for-DIRECTV.html
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 1   least as early as the later of its involvement with MoCA and the issue date of the
 2   Asserted Patents.
 3         215. 56. When DIRECTV obtained, deployed and/or used instrumentalities
 4   with MoCA functionality not provided by Entropic Inc., DIRECTV knew or should
 5   have known that Entropic Inc. had provided no authorization for such activities, for
 6   example by a patent license.
 7         216. 57. Upon information and belief, when DIRECTV obtained, deployed
 8   and/or used instrumentalities with MoCA functionality not provided by Entropic Inc.,
 9   DIRECTV failed to investigate whether Entropic Inc. authorized the use of Entropic
10   Inc.’s patents for such activity.
11         217. 58. Alternatively, upon information and belief, when DIRECTV
12   obtained, deployed and/or used instrumentalities with MoCA functionality not
13   provided by Entropic Inc., DIRECTV knew the use of Entropic Inc.’s patents for
14   such activity was not authorized by Entropic Inc.
15      ENTROPIC ACQUIRES THE PATENTS AND CONTACTS DIRECTV
16          ABOUT TAKING A LICENSE TO THE ASSERTED PATENTS
17         218. Entropic Inc. achieved technological and commercial success from its
18   inventive work with coaxial networks throughout the 2000s.
19         219. In addition to its work on MoCA and the inventions that enabled it,
20   Entropic Inc. also developed Direct Broadcast Satellite (“DBS”) Outdoor Unit
21   (“ODU”) single-wire technology, and System-on-Chip (“SoC”) solutions for set-top
22   boxes (“STBs”) in the home television and home video markets.
23         220. Under the technical guidance of Dr. Monk, Entropic Inc. grew to be
24   publicly listed on the NASDAQ in 2007. After the public listing, the company
25   acquired RF Magic, Inc. in 2007, a company specializing in DBS ODU technology
26   and related hardware.
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 1         221. Additional growth between 2007 and 2015 bolstered the technical
 2   expertise of Entropic Inc. with respect to signal acquisition, stacking, filtering,
 3   processing, and distribution for STBs and cable modems.
 4         222. In 2015, MaxLinear, Inc. (“MaxLinear”)—a leading provider of radio-
 5   frequency, analog, digital, and mixed-signal semiconductor solutions—acquired
 6   Entropic Inc., and the pioneering intellectual property developed by Dr. Monk and
 7   his team.
 8   ///
 9         223. In 2021, Plaintiff Entropic Communications, LLC was established.
10         224. In 2021, MaxLinear transferred to Entropic a portfolio of intellectual
11   property representing the innovations of Entropic and MaxLinear in the cable and
12   satellite services markets.
13         225. Prior to filing this Complaint, Entropic contacted DIRECTV numerous
14   times in an attempt to reach a license agreement with DIRECTV regarding Entropic’s
15   patent portfolio, including discussions aimed at the field of technology standardized
16   by the MoCA.
17         226. On March 9, 2022, Entropic sent a communication by electronic means
18   to DIRECTV, including the Patents-in-Suit.
19         227. On December 23, 2022, and January 2, 2023, Entropic sent DIRECTV
20   another communication by both physical and electronic means regarding a separate
21   license to Entropic’s patents for the field of the standardized networking technology
22   commonly called MoCA, and also seeking to discuss with DIRECTV a typical non-
23   disclosure agreement in order to share such information.
24         228. The parties subsequently entered a non-disclosure agreement to permit
25   licensing discussions. However, as of now DIRECTV has not taken a license to any
26   patent owned by Entropic, including the Patents-in-Suit.
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 1         229. In early February 2023, Entropic provided DIRECTV copies of claim
 2   charts illustrating DIRECTV’s patent infringement of each Asserted Patent by virtue
 3   of DIRECTV’s deployment of MoCA technology.
 4         230. As of at least February 17, 2023, DIRECTV has been on notice of
 5   Entropic’s assertions of infringement of the Asserted Patents.
 6                            JURISDICTION AND VENUE
 7         231. 59. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§
 8   1331 and 1338(a) because the claims herein arise under the patent laws of the United
 9   States, 35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.
10   ///
11         232. 60. Venue in this Judicial District is proper under 28 U.S.C. § 1400(b)
12   because DIRECTV has regular and established places of business in this District.
13   DIRECTV, by itself and/or through its agents have committed acts of patent
14   infringement within the State of California and in this Judicial District by making,
15   importing, using, selling, offering for sale, and/or leasing the Accused MoCA
16   Instrumentalities, as well as Accused Services employing the Accused MoCA
17   Instrumentalities, that comply with one or more of MoCA 1.0, 1.1, and/or 2.0.
18         233. 61. This Court currently has before it another case involving the same
19   parties that also concerns DIRECTV providing satellite television services to its
20   customers, including those in this Judicial District. Entropic Comm’s. LLC v.
21   DIRECTV LLC, Case No. 2:22-cv-07775-JWH-JEM (DIRECTV I CDCA). That co-
22   pending matter was transferred to this Court from the Eastern District of Texas on
23   October 26, 2022 on motion from the DIRECTV defendants, which alleged that such
24   matter could have been properly brought originally in this Judicial District. See
25   DIRECTV I CDCA, Dkt. No. 110.
26         234. 62. Venue in this Judicial District of California is proper pursuant to 28
27   U.S.C. § 1400(b), because DIRECTV has regular and established places of business
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 1   in this District, and have committed acts of patent infringement in this Judicial
 2   District. DIRECTV has committed acts of patent infringement within the State of
 3   California and in this Judicial District by making, using, selling, offering for sale,
 4   and/or leasing the Accused MoCA Instrumentalities, as well as Accused Services
 5   employing the Accused MoCA Instrumentalities, that comply with one or more of
 6   MoCA 1.0, 1.1, and/or 2.0.
 7         235. 63. This Court has general personal jurisdiction over the DIRECTV
 8   defendants because the DIRECTV defendants conduct systematic and regular
 9   business within the State of California by, inter alia providing satellite television and
10   internet services to businesses and residents throughout this State.
11   ///
12         236. 64. This Court has general personal jurisdiction over AT&T because
13   AT&T conducts systematic and regular business within the State of California by,
14   inter alia providing telephone, satellite television and internet services to businesses
15   and residents throughout this State.
16         237. 65. The Court has specific personal jurisdiction over DIRECTV because
17   it has committed acts of infringement within the State of California and this Judicial
18   District through, for example, making infringing networks using the Accused MoCA
19   Instrumentalities, and using the Accused MoCA Instrumentalities to provide the
20   Accused Services in the State of California and this Judicial District.
21         238. 66. DIRECTV’s regular and established places of business within this
22   District are used to conduct DIRECTV’s business, i.e. the development,
23   maintenance, and provision of the Accused Services and Accused MoCA
24   Instrumentalities.
25         239. 67. DIRECTV’s business in this Judicial District includes employing
26   hardware and software engineers who developed and maintain the Accused MoCA
27   Instrumentalities and related software.
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 1          240. 68. Upon information and belief, DIRECTV, by itself and/or through its
 2   agents offers various telecommunication services throughout the United States.
 3   DIRECTV operates and maintains a nationwide television and data network through
 4   which DIRECTV sells, leases, and offers for sale or lease products and services,
 5   including the Accused MoCA Instrumentalities, to businesses, consumers, and
 6   government agencies. DIRECTV offers to sell, sells, and provides DIRECTV
 7   branded products and services, including, set top boxes and digital video, audio, and
 8   other content services to customers. Subscribers to DIRECTV’s television services
 9   receive one or more receivers and/or set-top boxes, within this Judicial District.
10          241. 69. Upon information and belief, AT&T, by itself and/or through its
11   agents has offered and continues to offer various “DIRECTV” branded
12   telecommunication services throughout the United States. AT&T has operated and
13   maintained a nationwide television and data network through which AT&T sold,
14   leased, offered for sale, sells, leases, and offered for sale and/or continues to do so,
15   products and services, including the Accused MoCA Instrumentalities, to businesses,
16   consumers, and government agencies. AT&T offers to sell, sells, and provides
17   DIRECTV branded products and services, including, set top boxes and digital video,
18   audio, and other content services to customers. Subscribers to the “DIRECTV”
19   branded television services receive one or more receivers and/or set-top boxes, within
20   this Judicial District.
21          242. 70. Upon information and belief, DIRECTV provides the Accused
22   Services and Accused MoCA Instrumentalities throughout the United States and in
23   this Judicial District.
24          243. 71. Upon information and belief, DIRECTV employs and/or contracts
25   with persons and directs them to install, service, repair, and/or replace equipment, as
26   appropriate, in this District.
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 1         244. 72. Venue is further proper because DIRECTV has committed and
 2   continues to commit acts of patent infringement in this Judicial District, including,
 3   making, using, importing, offering to sell, and/or selling Accused Services and
 4   Accused MoCA Instrumentalities, and MoCA networks, and thereafter providing
 5   Accused Services in this Judicial District, including by Internet sales and sales via
 6   retail and wholesale stores. Furthermore, for example, DIRECTV deploys Accused
 7   MoCA Instrumentalities to many thousands of locations (customer premises) in this
 8   Judicial District and subsequently, by means of those Accused MoCA
 9   Instrumentalities, uses the claimed inventions at those locations in this Judicial
10   District. DIRECTV infringes by inducing and contributing to acts of patent
11   infringement in this Judicial District and/or committing at least a portion of any other
12   infringements alleged herein in this Judicial District.
13         245. 73. DIRECTV continues to conduct business in this Judicial District,
14   including the acts and activities described in the preceding paragraph.
15         246. 74. By virtue of AT&T’s prior ownership of the DIRECTV defendants,
16   Entropic alleges that AT&T is liable for the DIRECTV defendants’ infringement
17   below.
18                                         COUNT I
19                            (Infringement of the ’518 Patent)
20         247. 75. Entropic incorporates by reference each allegation of Paragraphs 1
21   through 74.
22         248. 76. The ’518 Patent duly issued on November 13, 2007 from an
23   application filed December 18, 2002, an application filed August 29, 2002 and, inter
24   alia, a provisional application filed August 30, 2001.
25         249. 77. Entropic owns all substantial rights, interest, and title in and to the
26   ’518 Patent, including the sole and exclusive right to prosecute this action and enforce
27   the ’518 Patent against infringers, and to collect damages for all relevant times.
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 1         250. 78. The ’518 Patent is one of the Network Patents, and is generally
 2   directed to, inter alia, broadband local area data networks using on-premises coaxial
 3   cable wiring for interconnection of devices. Probe messages can be “sent between
 4   devices to characterize the communication channel and determine optimum bit
 5   loading” for communicating data between devices. ’518 Patent, Abstract. The ’518
 6   Patent has four claims, of which claims 1 and 4 are independent. At least these claims
 7   of the ’518 Patent are directed to the creation of the MoCA network using the on-
 8   premises coaxial cable wiring. A true and accurate copy of the ’518 Patent is attached
 9   hereto as Exhibit A.
10         251. 79. The ’518 Patent is directed to patent-eligible subject matter pursuant
11   to 35 U.S.C. § 101.
12         252. 80. The ’518 Patent is valid and enforceable, and presumed as such,
13   pursuant to 35 U.S.C. § 282.
14         253. 81. DIRECTV deploys one or more of the Accused MoCA
15   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
16   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
17   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
18   the Accused Services.
19         254. 82. The Accused MoCA Instrumentalities deployed by DIRECTV to
20   customer premises remain the property of DIRECTV while deployed.
21         255. 83. The Accused MoCA Instrumentalities operate while deployed in a
22   manner controlled and intended by DIRECTV.
23         256. 84. As set forth in the attached non-limiting claim chart (Exhibit B), any
24   product or system operating in a MoCA network compliant with the charted
25   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 1 of the
26   ’518 Patent.
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 1         257. 85. Each aspect of the functioning of the Accused MoCA
 2   Instrumentalities described in the claim chart operates while deployed to customer
 3   premises in a manner controlled and intended by DIRECTV.
 4         258. 86. DIRECTV provides no software, support or other facility to
 5   customers to modify any aspect of the functioning described in the claim chart of the
 6   Accused MoCA Instrumentalities while deployed to customer premises.
 7         259. 87. The Accused MoCA Instrumentalities are compliant with the
 8   provisions of MoCA 1.0, 1.1., and/or 2.0, as described in the ’518 Patent claim chart,
 9   Exhibit B.
10         260. 88. DIRECTV therefore directly infringes at least claim 1 of the ’518
11   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
12   customers.
13         261. 89. DIRECTV directly infringes at least claim 1 of the ’518 Patent when
14   it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
15   otherwise provide Accused Services.
16         262. 90. DIRECTV directly infringes at least claim 1 of the ’518 Patent by
17   making, importing, selling, and/or offering for sale the Accused MoCA
18   Instrumentalities in connection with providing the Accused Services over an
19   on-premises coaxial cable network, which meets each and every limitationelement of
20   at least claim 1 of the ’518 Patent.
21         263. 91. DIRECTV had knowledge of the ’518 Patent no later than its receipt
22   of Entropic’s communications sent to DIRECTV on March 9, 2022.
23         264. 92. DIRECTV has been aware that it infringes the ’518 Patent since at
24   least as early as receipt of Entropic’s communications sent to DIRECTV on March
25   9, 2022.
26         265. 93. DIRECTV has known of or has been willfully blind to the ’518
27   Patent since before the March 9, 2022 communications from Entropic.
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 1         266. 94. The ’518 Patent issued while or before DIRECTV was a member of
 2   MoCA.
 3         267. 95. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 4   contributions related to MoCA technology, DIRECTV had knowledge of the ’518
 5   Patent before March 9, 2022 or was willfully blind to its existence.
 6         268. 96. DIRECTV has been aware of its infringement of the ’518 Patent no
 7   later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
 8   the infringement of the ’518 Patent by MoCA technology, which is deployed by
 9   DIRECTV. The claim charts DIRECTV received approximately three months before
10   the filing of this Complaint show that the claims of the ’518 Patent are essential to
11   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
12         269. 97. The claims of the ’518 Patent are essential to practicing at least
13   MoCA standards versions 1.0, 1.1, and/or 2.0.
14         270. 98. DIRECTV knew, or was willfully blind to the fact that the
15   technology of the ’518 Patent directly relates to networking over coaxial cable,
16   including MoCA, at least as early as DIRECTV became aware of the existence of the
17   ’518 Patent. Because of its familiarity with, and access to, the MoCA standards,
18   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
19   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
20   DIRECTV services would necessarily infringe one or more claims of the ’518 Patent.
21         271. 99. Since learning of the ’518 Patent and its infringing activities,
22   DIRECTV has failed to cease its infringing activities.
23         272. 100. DIRECTV’s customers and subscribers directly infringe at least
24   claim 1 of the ’518 Patent by using the Accused MoCA Instrumentalities in
25   connection with the Accused Services provided by DIRECTV.
26         273. 101. DIRECTV actively induces its customers’ and subscribers’ direct
27   infringement by providing the Accused Services and associated support.
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 1         274. 102. For example, DIRECTV actively induces infringement of at least
 2   claim 1 of the ’518 Patent by providing the Accused MoCA Instrumentalities to
 3   DIRECTV customers with specific instructions and/or assistance (including
 4   installation and maintenance) regarding the instantiation of a MoCA network and the
 5   use of the Accused MoCA Instrumentalities in a manner that infringes the ’518
 6   Patent.
 7         275. 103. DIRECTV aids, instructs, supports, and otherwise acts with, the
 8   intent to cause an end user to make and/or use the MoCA network and/or use the
 9   Accused MoCA Instrumentalities in a manner that infringes each and every element
10   of at least claim 1 of the ’518 Patent.
11         276. 104. Additionally, DIRECTV contributes to the customers’ and
12   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
13   Instrumentalities that create and are at least substantially all of a MoCA network to
14   be used to infringe at least claim 1 of the ’518 Patent.
15         277. 105. The Accused MoCA Instrumentalities have no substantial
16   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
17   connection with the Accused Services provided by DIRECTV, the end user
18   necessarily directly infringes at least claim 1 of the ’518 Patent. The Accused MoCA
19   Instrumentalities are therefore especially made or especially adapted for use in an
20   infringing manner.
21   ///
22         278. 106. DIRECTV’s inducement of, and contribution to, the direct
23   infringement of at least claim 1 of the ’518 Patent has been, and is, continuous and
24   ongoing through the acts described above in connection with DIRECTV’s provision
25   of the Accused Services.
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 1         279. 107. DIRECTV’s infringement of the ’518 Patent is, has been, and
 2   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 3   Entropic’s rights under the patent.
 4         280. 108. Entropic has been damaged as a result of the infringing conduct
 5   alleged above. DIRECTV is liable to Entropic in an amount that compensates
 6   Entropic for DIRECTV’s infringement, which by law cannot be less than a
 7   reasonable royalty, together with interest and costs as fixed by this Court under 35
 8   U.S.C. § 284.
 9         281. 109. Upon information and belief there is no duty to mark any
10   instrumentality with the ’518 Patent in accordance with 35 U.S.C. § 287.
11                                         COUNT II
12                            (Infringement of the ’249 Patent)
13         282. 110. Entropic incorporates by reference each allegation of Paragraphs 1
14   through 109.
15         283. 111. The ’249 Patent duly issued on September 22, 2009 from an
16   application filed July 21, 2001, and a provisional application filed May 4, 2001.
17         284. 112. Entropic owns all substantial rights, interest, and title in and to the
18   ’249 Patent, including the sole and exclusive right to prosecute this action and enforce
19   the ’249 Patent against infringers, and to collect damages for all relevant times.
20         285. 113. The ’249 Patent is one of the Network Patents, and is generally
21   directed to, inter alia, broadband cable networks that allow devices to communicate
22   directly over the existing coaxial cable with its current architecture without the need
23   to modify the existing cable infrastructure. Each device communicates with the other
24   devices in the network and establishes parameters to overcome channel impairments
25   in the coaxial cable network. ’249 Patent, col. 3, lines 11–22. The ’249 Patent has 17
26   claims, of which claims 1, 5, and 10 are independent. At least these claims of the
27   ’249 Patent are directed to the creation of the MoCA network using the on-premises
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 1   coaxial cable wiring. A true and accurate copy of the ’249 Patent is attached hereto
 2   as Exhibit C.
 3         286. 114. The ’249 Patent is directed to patent-eligible subject matter
 4   pursuant to 35 U.S.C. § 101.
 5         287. 115. The ’249 Patent is valid and enforceable, and presumed as such,
 6   pursuant to 35 U.S.C. § 282.
 7         288. 116. DIRECTV deploys one or more of the Accused MoCA
 8   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
 9   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
10   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
11   the Accused Services.
12         289. 117. The Accused MoCA Instrumentalities deployed by DIRECTV to
13   customer premises remain the property of DIRECTV while deployed.
14         290. 118. The Accused MoCA Instrumentalities operate while deployed in a
15   manner controlled and intended by DIRECTV.
16         291. 119. As set forth in the attached non-limiting claim chart (Exhibit D),
17   any product or system operating in a MoCA network compliant with the charted
18   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 10 of the
19   ’249 Patent.
20         292. 120. Each aspect of the functioning of the Accused MoCA
21   Instrumentalities described in the claim chart operates while deployed to customer
22   premises in a manner controlled and intended by DIRECTV.
23         293. 121. DIRECTV provides no software, support or other facility to
24   customers to modify any aspect of the functioning described in the claim chart of the
25   Accused MoCA Instrumentalities while deployed to customer premises.
26         294. 122. The Accused MoCA Instrumentalities are compliant with MoCA
27   1.0, 1.1., and/or 2.0, as described in the ’249 Patent claim chart, Exhibit D.
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 2         295. 123. DIRECTV therefore directly infringes at least claim 10 of the ’249
 3   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
 4   customers.
 5         296. 124. DIRECTV directly infringes at least claim 10 of the ’249 Patent
 6   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
 7   or otherwise provide Accused Services.
 8         297. 125. DIRECTV directly infringes at least claim 10 of the ’249 Patent by
 9   making, importing, selling, and/or offering for sale the Accused MoCA
10   Instrumentalities in connection with providing the Accused Services over an
11   on-premises coaxial cable network, which meets each and every limitationelement of
12   at least claim 10 of the ’249 Patent.
13         298. 126. DIRECTV had knowledge of the ’249 Patent no later than its
14   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
15         299. 127. DIRECTV has been aware that it infringes the ’249 Patent no later
16   than its receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
17         300. 128. DIRECTV has known of or has been willfully blind to the ’249
18   Patent since before the March 9, 2022 communications from Entropic.
19         301. 129. The ’249 Patent issued while or before DIRECTV was a member
20   of MoCA.
21         302. 130. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
22   contributions related to MoCA technology, DIRECTV had knowledge of the ’249
23   Patent before March 9, 2022 or was willfully blind to its existence.
24         303. 131. DIRECTV has been aware of its infringement of the ’249 Patent
25   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
26   the infringement of the ’249 Patent by MoCA technology, which is deployed by
27   DIRECTV. The claim charts DIRECTV received approximately three months before
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 1   the filing of this Complaint show that the claims of the ’249 Patent are essential to
 2   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
 3         304. 132. The claims of the ’249 Patent are essential to practicing at least
 4   MoCA standards versions 1.0, 1.1, and/or 2.0.
 5         305. 133. DIRECTV knew, or was willfully blind to the fact that the
 6   technology of the ’249 Patent directly relates to networking over coaxial cable,
 7   including MoCA, at least as early as DIRECTV became aware of the existence of the
 8   ’249 Patent. Because of its familiarity with, and access to, the MoCA standards,
 9   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
10   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
11   DIRECTV services would necessarily infringe one or more claims of the ’249 Patent.
12         306. 134. Since learning of the ’249 Patent and its infringing activities,
13   DIRECTV has failed to cease its infringing activities.
14         307. 135. DIRECTV’s customers and subscribers directly infringe at least
15   claim 10 of the ’249 Patent by using the Accused MoCA Instrumentalities in
16   connection with the Accused Services provided by DIRECTV.
17         308. 136. DIRECTV actively induces its customers’ and subscribers’ direct
18   infringement by providing the Accused Services and associated support.
19         309. 137. For example, DIRECTV actively induces infringement of at least
20   claim 10 of the ’249 Patent by providing the Accused MoCA Instrumentalities to
21   DIRECTV customers with specific instructions and/or assistance (including
22   installation and maintenance) regarding the instantiation of a MoCA network and the
23   use of the Accused MoCA Instrumentalities in a manner that infringes the ’249
24   Patent.
25         310. 138. DIRECTV aids, instructs, supports, and otherwise acts with the
26   intent to cause an end user to make and/or use the MoCA network and/or use the
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 1   Accused MoCA Instrumentalities in a manner that infringes every element of at least
 2   claim 10 of the ’249 Patent.
 3         311. 139. Additionally, DIRECTV contributes to the customers’ and
 4   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
 5   Instrumentalities that create and are at least substantially all of a MoCA network to
 6   be used to infringe at least claim 10 of the ’249 Patent.
 7         312. 140. The Accused MoCA Instrumentalities have no substantial
 8   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
 9   connection with the Accused Services provided by DIRECTV, the end user
10   necessarily directly infringes at least claim 10 of the ’249 Patent. The Accused MoCA
11   Instrumentalities are therefore especially made or especially adapted for use in an
12   infringing manner.
13         313. 141. DIRECTV’s inducement of, and contribution to, the direct
14   infringement of at least claim 10 of the ’249 Patent has been, and is, continuous and
15   ongoing through the acts described above in connection with DIRECTV’s provision
16   of the Accused Services.
17         314. 142. DIRECTV’s infringement of the ’249 Patent is, has been, and
18   continues to be willful, intentional, deliberate, and/or in conscious disregard for
19   Entropic’s rights under the patent.
20         315. 143. Entropic has been damaged as a result of the infringing conduct
21   alleged above. DIRECTV is liable to Entropic in an amount that compensates
22   Entropic for DIRECTV’s infringement, which by law cannot be less than a
23   reasonable royalty, together with interest and costs as fixed by this Court under 35
24   U.S.C. § 284.
25         316. 144. Entropic is aware of no obligation to mark any instrumentality with
26   the ’249 Patent in accordance with 35 U.S.C. § 287.
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 1                                        COUNT III
 2                            (Infringement of the ’759 Patent)
 3         317. 145. Entropic incorporates by reference each allegation of Paragraphs 1
 4   through 144.
 5         318. 146. The ’759 Patent duly issued on February 15, 2011 from an
 6   application filed July 12, 2004, an application filed August 29, 2002, and, inter alia
 7   a provisional application filed August 30, 2001.
 8   ///
 9         319. 147. Entropic owns all substantial rights, interest, and title in and to the
10   ’759 Patent, including the sole and exclusive right to prosecute this action and enforce
11   the ’759 Patent against infringers, and to collect damages for all relevant times.
12         320. 148. The ’759 Patent is one of the Node Admission Patents, and is
13   generally directed to, inter alia, broadband cable networks that allow devices to
14   communicate directly over the existing coaxial cable with its current architecture
15   without the need to modify the existing cable infrastructure. Each device
16   communicates with the other devices in the network and establishes a common
17   modulation scheme between the devices in the network. ’759 Patent, Abstract. The
18   ’759 Patent has 22 claims, of which claims 1–7, 14, 20–22 are independent. At least
19   these claims of the ’759 Patent are directed to a variety of techniques for establishing
20   a modulation scheme for communications between nodes in the MoCA network. A
21   true and correct copy of the ’759 Patent is attached hereto as Exhibit E.
22         321. 149. The ’759 Patent is directed to patent-eligible subject matter
23   pursuant to 35 U.S.C. § 101.
24         322. 150. The ’759 Patent is valid and enforceable, and presumed as such,
25   pursuant to 35 U.S.C. § 282.
26         323. 151. DIRECTV deploys one or more of the Accused MoCA
27   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
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 1   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
 2   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
 3   the Accused Services.
 4         324. 152. The Accused MoCA Instrumentalities deployed by DIRECTV to
 5   customer premises remain the property of DIRECTV while deployed.
 6         325. 153. The Accused MoCA Instrumentalities operate while deployed in a
 7   manner controlled and intended by DIRECTV.
 8         326. 154. As set forth in the attached non-limiting claim chart (Exhibit F),
 9   any product or system operating in a MoCA network compliant with the charted
10   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 2 of the
11   ’759 Patent.
12         327. 155. Each aspect of the functioning of the Accused MoCA
13   Instrumentalities described in the claim chart operates while deployed to customer
14   premises in a manner controlled and intended by DIRECTV.
15         328. 156. DIRECTV provides no software, support or other facility to
16   customers to modify any aspect of the functioning described in the claim chart of the
17   Accused MoCA Instrumentalities while deployed to customer premises.
18         329. 157. The Accused MoCA Instrumentalities are compliant with MoCA
19   1.0, 1.1., and/or 2.0, as described in the ’759 Patent claim chart, Exhibit F.
20         330. 158. DIRECTV therefore directly infringes at least claim 2 of the ’759
21   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
22   customers.
23         331. 159. DIRECTV sells the Accused Services to its customers and
24   subscribers for a fee. Pursuant to the sale of these services, DIRECTV uses the
25   method recited in at least claim 2 of the ’759 Patent to provide the Accused Services
26   to DIRECTV’s customers and subscribers through the Accused MoCA
27   Instrumentalities. DIRECTV is therefore engaging in the infringing use of at least
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 1   claim 2 of the ’759 Patent in order to generate revenue from its customers and
 2   subscribers.
 3         332. 160. DIRECTV directly infringes at least claim 2 of the ’759 Patent
 4   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
 5   or otherwise provide Accused Services.
 6         333. 161. DIRECTV had knowledge of the ’759 Patent no later than its
 7   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 8         334. 162. DIRECTV has been aware that it infringes the ’759 Patent no later
 9   than its receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
10         335. 163. DIRECTV has known of or has been willfully blind to the ’759
11   Patent since before the March 9, 2022 communications from Entropic.
12         336. 164. The ’759 Patent issued while or before DIRECTV was a member
13   of MoCA.
14         337. 165. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
15   contributions related to MoCA technology, DIRECTV had knowledge of the ’759
16   Patent before March 9, 2022 or was willfully blind to its existence.
17         338. 166. DIRECTV has been aware of its infringement of the ’759 Patent
18   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
19   the infringement of the ’759 Patent by MoCA technology, which is deployed by
20   DIRECTV. The claim charts DIRECTV received approximately three months before
21   the filing of this Complaint show that the claims of the ’759 Patent are essential to
22   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
23         339. 167. The claims of the ’759 Patent are essential to practicing at least
24   MoCA standards versions 1.0, 1.1, and/or 2.0.
25         340. 168. DIRECTV knew, or was willfully blind to the fact that the
26   technology of the ’759 Patent directly relates to networking over coaxial cable,
27   including MoCA, at least as early as DIRECTV became aware of the existence of the
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 1   ’759 Patent. Because of its familiarity with, and access to, the MoCA standards,
 2   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
 3   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
 4   DIRECTV services would necessarily infringe one or more claims of the ’759 Patent.
 5         341. 169. Since learning of the ’759 Patent and its infringing activities,
 6   DIRECTV has failed to cease its infringing activities.
 7         342. 170. DIRECTV’s customers and subscribers directly infringe at least
 8   claim 2 of the ’759 Patent by using the Accused MoCA Instrumentalities in
 9   connection with the Accused Services provided by DIRECTV.
10         343. 171. DIRECTV actively induces its customers’ and subscribers’ direct
11   infringement by providing the Accused Services and associated support.
12   ///
13         344. 172. For example, DIRECTV actively induces infringement of at least
14   claim 2 of the ’759 Patent by providing the Accused MoCA Instrumentalities to
15   DIRECTV customers with specific instructions and/or assistance (including
16   installation and maintenance) regarding the instantiation of a MoCA network and the
17   use of the Accused MoCA Instrumentalities to infringe the ’759 Patent.
18         345. 173. DIRECTV aids, instructs, supports, and otherwise acts with the
19   intent to cause an end user to make and/or use the MoCA network and/or use the
20   Accused MoCA Instrumentalities to infringe every element of at least claim 2 of the
21   ’759 Patent.
22         346. 174. Additionally, DIRECTV contributes to the customers’ and
23   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
24   Instrumentalities that create and are at least substantially all of a MoCA network to
25   be used to infringe at least claim 2 of the ’759 Patent.
26         347. 175. The Accused MoCA Instrumentalities have no substantial
27   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
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 1   connection with the Accused Services provided by DIRECTV, the end user
 2   necessarily directly infringes at least claim 2 of the ’759 Patent. The Accused MoCA
 3   Instrumentalities are therefore especially made or especially adapted for use in an
 4   infringing manner.
 5           348. 176. DIRECTV’s inducement of, and contribution to, the direct
 6   infringement of at least claim 2 of the ’759 Patent has been, and is, continuous and
 7   ongoing through the acts described above in connection with DIRECTV’s provision
 8   of the Accused Services.
 9           349. 177. DIRECTV’s infringement of the ’759 Patent is, has been, and
10   continues to be willful, intentional, deliberate, and/or in conscious disregard for
11   Entropic’s rights under the patent.
12           350. 178. Entropic has been damaged as a result of the infringing conduct
13   alleged above. DIRECTV is liable to Entropic in an amount that compensates
14   Entropic for DIRECTV’s infringement, which by law cannot be less than a
15   reasonable royalty, together with interest and costs as fixed by this Court under 35
16   U.S.C. § 284.
17           351. 179. Upon information and belief, there is no duty to mark any
18   instrumentality with the ’759 Patent in accordance with 35 U.S.C. § 287.
19                                         COUNT IV
20                            (Infringement of the ’802 Patent)
21           352. 180. Entropic incorporates by reference each allegation of Paragraphs 1
22   through 179.
23           353. 181. The ’802 Patent duly issued on December 27, 2011 from an
24   application filed December 2, 2005 and a provisional application filed December 2,
25   2004.
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 1         354. 182. Entropic owns all substantial rights, interest, and title in and to the
 2   ’802 Patent, including the sole and exclusive right to prosecute this action and enforce
 3   the ’802 Patent against infringers, and to collect damages for all relevant times.
 4         355. 183. The ’802 Patent is one of the Node Admission Patents, and is
 5   generally directed to, inter alia, broadband cable networks that allow devices to
 6   communicate directly over the existing coaxial cable with its current architecture
 7   without the need to modify the existing cable infrastructure. Each device
 8   communicates with the other devices in the network and establishes the best
 9   modulation and other transmission parameters that is optimized and periodically
10   adapted to the channel between each pair of devices. ’802 Patent, col. 4, lines 7–24.
11   The ’802 Patent has four claims, all of which are independent. At least these claims
12   of the ’802 Patent are directed to a variety of techniques for establishing a modulation
13   scheme for communications between nodes in the MoCA network. A true and
14   accurate copy of the ’802 Patent is attached hereto as Exhibit G.
15         356. 184. The ’802 Patent is directed to patent-eligible subject matter
16   pursuant to 35 U.S.C. § 101.
17         357. 185. The ’802 Patent is valid and enforceable, and presumed as such,
18   pursuant to 35 U.S.C. § 282.
19   ///
20         358. 186. DIRECTV deploys one or more of the Accused MoCA
21   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
22   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
23   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
24   the Accused Services.
25         359. 187. The Accused MoCA Instrumentalities deployed by DIRECTV to
26   customer premises remain the property of DIRECTV while deployed.
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 1         360. 188. The Accused MoCA Instrumentalities operate while deployed in a
 2   manner controlled and intended by DIRECTV.
 3         361. 189. As set forth in the attached non-limiting claim chart (Exhibit H),
 4   any product or system operating in a MoCA network compliant with the charted
 5   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 3 of the
 6   ’802 Patent.
 7         362. 190. Each aspect of the functioning of the Accused MoCA
 8   Instrumentalities described in the claim chart operates while deployed to customer
 9   premises in a manner controlled and intended by DIRECTV.
10         363. 191. DIRECTV provides no software, support or other facility to
11   customers to modify any aspect of the functioning described in the claim chart of the
12   Accused MoCA Instrumentalities while deployed to customer premises.
13         364. 192. The Accused MoCA Instrumentalities are compliant with MoCA
14   1.0, 1.1., and/or 2.0, as described in the ’802 Patent claim chart, Exhibit H.
15         365. 193. DIRECTV therefore directly infringes at least claim 3 of the ’802
16   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
17   customers.
18         366. 194. DIRECTV sells the Accused Services to its customers and
19   subscribers for a fee. Pursuant to the sale of these services, DIRECTV uses the
20   method recited in at least claim 3 of the ’802 Patent to provide the Accused Services
21   to DIRECTV’s customers and subscribers through the Accused MoCA
22   Instrumentalities. DIRECTV is therefore engaging in the infringing use of at least
23   claim 3 of the ’802 Patent in order to generate revenue from its customers and
24   subscribers.
25         367. 195. DIRECTV directly infringes at least claim 3 of the ’802 Patent
26   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
27   or otherwise provide Accused Services and/or the Accused MoCA Instrumentalities.
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 1         368. 196. DIRECTV had knowledge of the ’802 Patent no later than its
 2   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 3         369. 197. DIRECTV has been aware that it infringes the ’802 Patent no later
 4   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 5         370. 198. DIRECTV has known of or has been willfully blind to the ’802
 6   Patent since before the March 9, 2022 communications from Entropic.
 7         371. 199. The ’802 Patent issued while or before DIRECTV was a member
 8   of MoCA.
 9         372. 200. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
10   contributions related to MoCA technology, DIRECTV had knowledge of the ’802
11   Patent before March 9, 2022 or was willfully blind to its existence.
12         373. 201. DIRECTV has been aware of its infringement of the ’802 Patent
13   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
14   the infringement of the ’802 Patent by MoCA technology, which is deployed by
15   DIRECTV. The claim charts DIRECTV received approximately three months before
16   the filing of this Complaint show that the claims of the ’802 Patent are essential to
17   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
18         374. 202. The claims of the ’802 Patent are essential to practicing at least
19   MoCA standards versions 1.0, 1.1, and/or 2.0.
20         375. 203. DIRECTV knew, or was willfully blind to the fact that the
21   technology of the ’802 Patent directly relates to networking over coaxial cable,
22   including MoCA, at least as early as DIRECTV became aware of the existence of the
23   ’802 Patent. Because of its familiarity with, and access to, the MoCA standards,
24   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
25   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
26   DIRECTV services would necessarily infringe one or more claims of the ’802 Patent.
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 1         376. 204. Since learning of the ’802 Patent and its infringing activities,
 2   DIRECTV has failed to cease its infringing activities.
 3         377. 205. DIRECTV’s customers and subscribers directly infringe at least
 4   claim 3 of the ’802 Patent by using the Accused MoCA Instrumentalities in
 5   connection with the Accused Services provided by DIRECTV.
 6         378. 206. DIRECTV actively induces its customers’ and subscribers’ direct
 7   infringement by providing the Accused Services and associated support.
 8         379. 207. For example, DIRECTV actively induces infringement of at least
 9   claim 3 of the ’802 Patent by providing the Accused MoCA Instrumentalities to
10   DIRECTV customers with specific instructions and/or assistance (including
11   installation and maintenance) regarding the instantiation of a MoCA network and the
12   use of the Accused MoCA Instrumentalities to infringe the ’802 Patent.
13         380. 208. DIRECTV aids, instructs, supports, and otherwise acts with the
14   intent to cause an end user to make and/or use the MoCA network and/or use the
15   Accused MoCA Instrumentalities to infringe every element of at least claim 3 of the
16   ’802 Patent.
17         381. 209. Additionally, DIRECTV contributes to the customers’ and
18   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
19   Instrumentalities that create and are at least substantially all of a MoCA network to
20   be used to infringe at least claim 3 of the ’802 Patent.
21         382. 210. The Accused MoCA Instrumentalities have no substantial
22   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
23   connection with the Accused Services provided by DIRECTV, the end user
24   necessarily directly infringes at least claim 3 of the ’802 Patent. The Accused MoCA
25   Instrumentalities are therefore especially made or especially adapted for use in an
26   infringing manner.
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 1         383. 211. DIRECTV’s inducement of, and contribution to, the direct
 2   infringement of at least claim 3 of the ’802 Patent has been, and is, continuous and
 3   ongoing through the acts described above in connection with DIRECTV’s provision
 4   of the Accused Services.
 5         384. 212. DIRECTV’s infringement of the ’802 Patent is, has been, and
 6   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 7   Entropic’s rights under the patent.
 8         385. 213. Entropic has been damaged as a result of the infringing conduct
 9   alleged above. DIRECTV is liable to Entropic in an amount that compensates
10   Entropic for DIRECTV’s infringement, which by law cannot be less than a
11   reasonable royalty, together with interest and costs as fixed by this Court under 35
12   U.S.C. § 284.
13         386. 214. Upon information and belief, there is no duty to mark any
14   instrumentality with the ’802 Patent in accordance with 35 U.S.C. § 287.
15                                         COUNT V
16                            (Infringement of the ’450 Patent)
17         387. 215. Entropic incorporates by reference each allegation of Paragraphs 1
18   through 214.
19         388. 216. The ’450 Patent duly issued on January 14, 2014, from an
20   application filed September 19, 2005, and, inter alia, a provisional application filed
21   December 2, 2004.
22         389. 217. Entropic owns all substantial rights, interest, and title in and to the
23   ’450 Patent, including the sole and exclusive right to prosecute this action and enforce
24   the ’450 Patent against infringers, and to collect damages for all relevant times.
25         390. 218. The ’450 Patent is one of the Link Maintenance Patents, and is
26   generally directed to, inter alia, broadband cable networks that allow devices to
27   communicate directly over the existing coaxial cable with its current architecture
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 1   without the need to modify the existing cable infrastructure. Each device
 2   communicates with the other devices in the network and establishes a common
 3   modulation scheme between the devices in the network. ’450 Patent, col. 4, lines 12-
 4   28. The ’450 Patent has 38 claims, of which, claim 1, 8, 27, 29, and 34 are
 5   independent. At least these claims of the ’450 Patent are directed to a variety of
 6   techniques for determining a common modulation scheme for communications
 7   between nodes in the MoCA network. A true and accurate copy of the ’450 Patent is
 8   attached hereto as Exhibit I.
 9         391. 219. The ’450 Patent is directed to patent-eligible subject matter
10   pursuant to 35 U.S.C. § 101.
11         392. 220. The ’450 Patent is valid and enforceable, and presumed as such,
12   pursuant to 35 U.S.C. § 282.
13         393. 221. DIRECTV deploys one or more of the Accused MoCA
14   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
15   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
16   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
17   the Accused Services.
18         394. 222. The Accused MoCA Instrumentalities deployed by DIRECTV to
19   customer premises remain the property of DIRECTV while deployed.
20         395. 223. The Accused MoCA Instrumentalities operate while deployed in a
21   manner controlled and intended by DIRECTV.
22         396. 224. As set forth in the attached non-limiting claim chart (Exhibit J),
23   any product or system operating in a MoCA network compliant with the charted
24   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 29 of the
25   ’450 Patent.
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 1         397. 225. Each aspect of the functioning of the Accused MoCA
 2   Instrumentalities described in the claim chart operates while deployed to customer
 3   premises in a manner controlled and intended by DIRECTV.
 4         398. 226. DIRECTV provides no software, support or other facility to
 5   customers to modify any aspect of the functioning described in the claim chart of the
 6   Accused MoCA Instrumentalities while deployed to customer premises.
 7   ///
 8         399. 227. The Accused MoCA Instrumentalities are compliant with MoCA
 9   1.0, 1.1., and/or 2.0, as described in the ’450 Patent claim chart, Exhibit J.
10         400. 228. DIRECTV therefore directly infringes at least claim 29 of the ’450
11   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
12   customers.
13         401. 229. DIRECTV sells the Accused Services to its customers and
14   subscribers for a fee. Pursuant to the sale of these services, DIRECTV uses the
15   method recited in at least claim 29 of the ’450 Patent to provide the Accused Services
16   to DIRECTV’s customers and subscribers through the Accused MoCA
17   Instrumentalities. DIRECTV is therefore engaging in the infringing use of at least
18   claim 29 of the ’450 Patent in order to generate revenue from its customers and
19   subscribers.
20         402. 230. DIRECTV directly infringes at least claim 29 of the ’450 Patent
21   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
22   or otherwise provide Accused Services.
23         403. 231. DIRECTV had knowledge of the ’450 Patent no later than its
24   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
25         404. 232. DIRECTV has been aware that it infringes the ’450 Patent no later
26   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
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 1         405. 233. DIRECTV has known of or has been willfully blind to the ’450
 2   Patent since before the March 9, 2022 communications from Entropic.
 3         406. 234. The ’450 Patent issued while or before DIRECTV was a member
 4   of MoCA.
 5         407. 235. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 6   contributions related to MoCA technology, DIRECTV had knowledge of the ’450
 7   Patent before March 9, 2022 or was willfully blind to its existence.
 8         408. 236. DIRECTV has been aware of its infringement of the ’450 Patent
 9   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
10   the infringement of the ’450 Patent by MoCA technology, which is deployed by
11   DIRECTV. The claim charts DIRECTV received approximately three months before
12   the filing of this Complaint show that the claims of the ’450 Patent are essential to
13   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
14         409. 237. The claims of the ’450 Patent are essential to practicing at least
15   MoCA standards versions 1.0, 1.1, and/or 2.0.
16         410. 238. DIRECTV knew, or was willfully blind to the fact that the
17   technology of the ’450 Patent directly relates to networking over coaxial cable,
18   including MoCA, at least as early as DIRECTV became aware of the existence of the
19   ’450 Patent. Because of its familiarity with, and access to, the MoCA standards,
20   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
21   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
22   DIRECTV services would necessarily infringe one or more claims of the ’450 Patent.
23         411. 239. Since learning of the ’450 Patent and its infringing activities,
24   DIRECTV has failed to cease its infringing activities.
25         412. 240. DIRECTV’s customers and subscribers directly infringe at least
26   claim 29 of the ’450 Patent by using the Accused MoCA Instrumentalities in
27   connection with the Accused Services provided by DIRECTV.
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 1         413. 241. DIRECTV actively induces its customers’ and subscribers’ direct
 2   infringement by providing the Accused Services and associated support.
 3         414. 242. For example, DIRECTV actively induces infringement of at least
 4   claim 29 of the ’450 Patent by providing the Accused MoCA Instrumentalities to
 5   DIRECTV customers with specific instructions and/or assistance (including
 6   installation and maintenance) regarding the instantiation of a MoCA network and the
 7   use of the Accused MoCA Instrumentalities to infringe the ’450 Patent.
 8         415. 243. DIRECTV aids, instructs, supports, and otherwise acts with the
 9   intent to cause an end user to make and/or use the MoCA network and/or use the
10   Accused MoCA Instrumentalities to infringe every element of at least claim 29 of the
11   ’450 Patent.
12         416. 244. Additionally, DIRECTV contributes to the customers’ and
13   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
14   Instrumentalities that create and are at least substantially all of a MoCA network to
15   be used to infringe at least claim 29 of the ’450 Patent.
16         417. 245. The Accused MoCA Instrumentalities have no substantial
17   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
18   connection with the Accused Services provided by DIRECTV, the end user directly
19   infringes at least claim 29 of the ’450 Patent. The Accused MoCA Instrumentalities
20   are especially made or especially adapted for use in an infringing manner.
21         418. 246. DIRECTV’s inducement of, and contribution to, the direct
22   infringement of at least claim 29 of the ’450 Patent has been, and is, continuous and
23   ongoing through the acts described above in connection with DIRECTV’s provision
24   of the Accused Services.
25         419. 247. DIRECTV’s infringement of the ’450 Patent is, has been, and
26   continues to be willful, intentional, deliberate, and/or in conscious disregard for
27   Entropic’s rights under the patent.
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 1            420. 248. Entropic has been damaged as a result of the infringing conduct
 2   alleged above. DIRECTV is liable to Entropic in an amount that compensates
 3   Entropic for DIRECTV’s infringement, which by law cannot be less than a
 4   reasonable royalty, together with interest and costs as fixed by this Court under 35
 5   U.S.C. § 284.
 6            421. 249.    Upon information and belief, there is no duty to mark any
 7   instrumentality with the ’450 Patent in accordance with 35 U.S.C. § 287.
 8   ///
 9   ///
10   ///
11   ///
12   ///
13   ///
14                                          COUNT VI
15                             (Infringement of the ’7,566 Patent) 5
16            422. 250. Entropic incorporates by reference each allegation of Paragraphs 1
17   through 249.
18            423. 251. The ’7,566 Patent duly issued on April 9, 2019 from an application
19   filed February 7, 2017 and an application filed September 19, 2005, and inter alia, a
20   provisional application filed December 2, 2004.
21            424. 252. Entropic owns all substantial rights, interest, and title in and to the
22   ’7,566 Patent, including the sole and exclusive right to prosecute this action and
23   enforce the ’7,566 Patent against infringers, and to collect damages for all relevant
24   times.
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26   5
      The parties are discussing how they intend to proceed with respect to the ’7,566
27   Patent. Entropic has included these allegations from the Original Complaint
     pending the result of those discussions.
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 1         425. 253. The ’7,566 Patent is the Network Coordinator Patent, and it uses
 2   the claimed controller to form, manage, and optimize mesh networks over coaxial
 3   cable, thereby allowing nodes to communicate efficiently with each other. Id. at col.
 4   3, lines 21-24; col. 4, lines 22-42. This invention resulted in creating the ability for
 5   set top boxes to communicate with one another over coaxial cable networks. ’7,566
 6   Patent, col. 3, lines 39-46. The ’7,566 Patent is generally directed to, inter alia,
 7   broadband cable networks that allow devices to communicate directly over the
 8   existing coaxial cable with its current architecture without the need to modify the
 9   existing cable infrastructure. Each device communicates with the other devices in the
10   network and establishes the best modulation and other transmission parameters that
11   is optimized and periodically adapted to the channel between each pair of
12   devices. ’7,566 Patent, col. 4, lines 23–39. The ’7,566 Patent has 20 claims, of which
13   claims 1, 11, and 19 are independent. At least these claims of the ’7,566 Patent are
14   directed to a variety of techniques for controlling the admission of nodes in the
15   MoCA network. A true and accurate copy of the ’7,566 Patent is attached hereto as
16   Exhibit K.
17         426. 254. The ’7,566 Patent is directed to patent-eligible subject matter
18   pursuant to 35 U.S.C. § 101.
19         427. 255. The ’7,566 Patent is valid and enforceable, and presumed as such,
20   pursuant to 35 U.S.C. § 282.
21         428. 256. DIRECTV deploys one or more of the Accused MoCA
22   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
23   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
24   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
25   the Accused Services.
26         429. 257. The Accused MoCA Instrumentalities deployed by DIRECTV to
27   customer premises remain the property of DIRECTV while deployed.
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 1         430. 258. The Accused MoCA Instrumentalities operate while deployed in a
 2   manner controlled and intended by DIRECTV.
 3         431. 259. As set forth in the attached non-limiting claim chart (Exhibit L),
 4   any product or system operating in a MoCA network compliant with the charted
 5   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 11 of the
 6   ’7,566 Patent.
 7         432. 260. Each aspect of the functioning of the Accused MoCA
 8   Instrumentalities described in the claim chart operates while deployed to customer
 9   premises in a manner controlled and intended by DIRECTV.
10         433. 261. DIRECTV provides no software, support or other facility to
11   customers to modify any aspect of the functioning described in the claim chart of the
12   Accused MoCA Instrumentalities while deployed to customer premises.
13         434. 262. The Accused MoCA Instrumentalities are compliant with MoCA
14   1.0, 1.1., and/or 2.0, as described in the ’7,566 Patent claim chart, Exhibit L.
15   ///
16   ///
17         435. 263. DIRECTV therefore directly infringes at least claim 11 of the
18   ’7,566 Patent by using the Accused MoCA Instrumentalities to provide Accused
19   Services to customers.
20         436. 264. DIRECTV directly infringes at least claim 11 of the ’7,566 Patent
21   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
22   or otherwise provide Accused Services and/or the Accused MoCA Instrumentalities.
23         437. 265. DIRECTV directly infringes at least claim 11 of the ’7,566 Patent
24   by making, importing, selling, and/or offering for sale the Accused MoCA
25   Instrumentalities, which meet every limitationelement of at least claim 11 of the
26   ’7,566 Patent, in connection with providing the Accused Services over an
27   on-premises coaxial cable network.
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 1           438. 266. DIRECTV had knowledge of the ’7,566 Patent no later than its
 2   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 3           439. 267. DIRECTV has been aware that it infringes the ’7,566 Patent no
 4   later than its receipt of Entropic’s communication sent to DIRECTV on March 9,
 5   2022.
 6           440. 268. DIRECTV has known of or has been willfully blind to the ’7,566
 7   Patent since before the March 9, 2022 communications from Entropic.
 8           441. 269. The ’7,566 Patent issued while or before DIRECTV was a member
 9   of MoCA.
10           442. 270. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
11   contributions related to MoCA technology, DIRECTV had knowledge of the ’7,566
12   Patent before March 9, 2022 or was willfully blind to its existence.
13           443. 271. DIRECTV has been aware of its infringement of the ’7,566 Patent
14   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
15   the infringement of the ’7,566 Patent by MoCA technology, which is deployed by
16   DIRECTV. The claim charts DIRECTV received approximately three months before
17   the filing of this Complaint show that the claims of the ’7,566 Patent are essential to
18   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
19           444. 272. The claims of the ’7,566 Patent are essential to practicing at least
20   MoCA standards versions 1.0, 1.1, and/or 2.0.
21           445. 273. DIRECTV knew, or was willfully blind to the fact that the
22   technology of the ’7,566 Patent directly relates to networking over coaxial cable,
23   including MoCA, at least as early as DIRECTV became aware of the existence of the
24   ’7,566 Patent. Because of its familiarity with, and access to, the MoCA standards,
25   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
26   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
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 1   DIRECTV services would necessarily infringe one or more claims of the ’7,566
 2   Patent.
 3         446. 274. Since learning of the ’7,566 Patent and its infringing activities,
 4   DIRECTV has failed to cease its infringing activities.
 5         447. 275. DIRECTV’s customers and subscribers directly infringe at least
 6   claim 11 of the ’7,566 Patent by using the Accused MoCA Instrumentalities in
 7   connection with the Accused Services provided by DIRECTV.
 8         448. 276. DIRECTV actively induces its customers’ and subscribers’ direct
 9   infringement by providing the Accused Services through the Accused MoCA
10   Instrumentalities, and associated support.
11         449. 277. For example, DIRECTV actively induces infringement of at least
12   claim 11 of the ’7,566 Patent by providing the Accused MoCA Instrumentalities to
13   DIRECTV customers with specific instructions and/or assistance (including
14   installation and maintenance) regarding the instantiation of a MoCA network and the
15   use of the Accused MoCA Instrumentalities to infringe the ’7,566 Patent.
16         450. 278. DIRECTV aids, instructs, supports, and otherwise acts with the
17   intent to cause an end user to make and/or use the MoCA network and/or use the
18   Accused MoCA Instrumentalities to infringe every element of at least claim 11 of the
19   ’7,566 Patent.
20   ///
21         451. 279. Additionally, DIRECTV contributes to the customers’ and
22   subscribers’ direct infringement. DIRECTV provides, inter alia, the Accused MoCA
23   Instrumentalities designed and configured to create a MoCA network and operate as
24   nodes in the network, the use of which infringes at least claim 11 of the ’7,566 Patent.
25         452. 280. The Accused MoCA Instrumentalities have no substantial
26   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
27   connection with the Accused Services provided by DIRECTV, the end user directly
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 1   infringes at least claim 11 of the ’7,566 Patent. The Accused MoCA Instrumentalities
 2   are therefore especially made or especially adapted for use in an infringing manner.
 3         453. 281. DIRECTV’s inducement of, and contribution to, the direct
 4   infringement of at least claim 11 of the ’7,566 Patent has been, and is, continuous
 5   and ongoing through the acts described above in connection with DIRECTV’s
 6   provision of the Accused Services.
 7         454. 282. DIRECTV’s infringement of the ’7,566 Patent is, has been, and
 8   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 9   Entropic’s rights under the patent.
10         455. 283. Entropic has been damaged as a result of the infringing conduct
11   alleged above. DIRECTV is liable to Entropic in an amount that compensates
12   Entropic for DIRECTV’s infringement, which by law cannot be less than a
13   reasonable royalty, together with interest and costs as fixed by this Court under 35
14   U.S.C. § 284.
15         456. 284. Entropic is aware of no obligation to mark any instrumentality with
16   the ’7,566 Patent in accordance with 35 U.S.C. § 287.
17                                         COUNT VII
18                            (Infringement of the ’539 Patent)
19         457. 285. Entropic incorporates by reference each allegation of Paragraphs 1
20   through 284.
21   ///
22   ///
23         458. 286. The ’539 Patent duly issued on December 31, 2013 from an
24   application filed September 29, 2005 and, inter alia, a provisional application filed
25   December 2, 2004.
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 1         459. 287. Entropic owns all substantial rights, interest, and title in and to the
 2   ’539 Patent, including the sole and exclusive right to prosecute this action and enforce
 3   the ’539 Patent against infringers, and to collect damages for all relevant times.
 4         460. 288. The ’539 Patent is one of the Link Maintenance Patents, and is
 5   generally directed to, inter alia, a physical layer transmitter that performs all of the
 6   necessary RF, analog and digital processing required for transmitting MAC messages
 7   between devices in a broadband cable network. ’539 Patent, col. 4, lines 37–48. The
 8   ’539 Patent has seven claims, of which claim 1 is independent. At least this claim of
 9   the ’539 Patent is directed at a variety of techniques for monitoring and maintaining
10   utilized modulation profiles in the MoCA network. A true and accurate copy of the
11   ’539 Patent is attached hereto as Exhibit M.
12         461. 289. The ’539 Patent is directed to patent-eligible subject matter
13   pursuant to 35 U.S.C. § 101.
14         462. 290. The ’539 Patent is valid and enforceable, and presumed as such,
15   pursuant to 35 U.S.C. § 282.
16         463. 291. DIRECTV deploys one or more of the Accused MoCA
17   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
18   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
19   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
20   the Accused Services.
21         464. 292. The Accused MoCA Instrumentalities deployed by DIRECTV to
22   customer premises remain the property of DIRECTV while deployed.
23         465. 293. The Accused MoCA Instrumentalities operate while deployed in a
24   manner controlled and intended by DIRECTV.
25         466. 294. As set forth in the attached non-limiting claim chart (Exhibit N),
26   any product or system operating in a MoCA network compliant with the charted
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 1   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 1 of the
 2   ’539 Patent.
 3         467. 295. Each aspect of the functioning of the Accused MoCA
 4   Instrumentalities described in the claim chart operates while deployed to customer
 5   premises in a manner controlled and intended by DIRECTV.
 6         468. 296. DIRECTV provides no software, support or other facility to
 7   customers to modify any aspect of the functioning described in the claim chart of the
 8   Accused MoCA Instrumentalities while deployed to customer premises.
 9         469. 297. The Accused MoCA Instrumentalities are compliant with MoCA
10   1.0, 1.1., and/or MoCA 2.0, as described in the ’539 Patent claim chart, Exhibit N.
11         470. 298. DIRECTV therefore directly infringes at least claim 1 of the ’539
12   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
13   customers.
14         471. 299. DIRECTV directly infringes at least claim 1 of the ’539 Patent
15   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
16   or otherwise provide Accused Services.
17         472. 300. DIRECTV directly infringes at least claim 1 of the ’539 Patent by
18   making, importing, selling, and/or offering for sale the Accused MoCA
19   Instrumentalities, which meet every limitationelement of at least claim 1 of the ’539
20   Patent, in connection with providing the Accused Services over an on-premises
21   coaxial cable network.
22         473. 301. DIRECTV had knowledge of the ’539 Patent no later than its
23   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
24         474. 302. DIRECTV has been aware that it infringes the ’539 Patent no later
25   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
26         475. 303. DIRECTV has known of or has been willfully blind to the ’539
27   Patent since before the March 9, 2022 communications from Entropic.
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 2         476. 304. The ’539 Patent issued while or before DIRECTV was a member
 3   of MoCA.
 4         477. 305. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 5   contributions related to MoCA technology, DIRECTV had knowledge of the ’539
 6   Patent before March 9, 2022 or was willfully blind to its existence.
 7         478. 306. DIRECTV has been aware of its infringement of the ’539 Patent
 8   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
 9   the infringement of the ’539 Patent by MoCA technology, which is deployed by
10   DIRECTV. The claim charts DIRECTV received approximately three months before
11   the filing of this Complaint show that the claims of the ’539 Patent are essential to
12   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
13         479. 307. The claims of the ’539 Patent are essential to practicing at least
14   MoCA standards versions 1.0, 1.1, and/or 2.0.
15         480. 308. DIRECTV knew, or was willfully blind to the fact that the
16   technology of the ’539 Patent directly relates to networking over coaxial cable,
17   including MoCA, at least as early as DIRECTV became aware of the existence of the
18   ’539 Patent. Because of its familiarity with, and access to, the MoCA standards,
19   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
20   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
21   DIRECTV services would necessarily infringe one or more claims of the ’539 Patent.
22         481. 309. Since learning of the ’539 Patent and its infringing activities,
23   DIRECTV has failed to cease its infringing activities.
24         482. 310. DIRECTV’s customers and subscribers directly infringe at least
25   claim 1 of the ’539 Patent by using the Accused MoCA Instrumentalities in
26   connection with the Accused Services provided by DIRECTV.
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 1         483. 311. DIRECTV actively induces its customers’ and subscribers’ direct
 2   infringement by providing the Accused Services through the Accused MoCA
 3   Instrumentalities, and associated support.
 4         484. 312. For example, DIRECTV actively induces infringement of at least
 5   claim 1 of the ’539 Patent by providing the Accused MoCA Instrumentalities to
 6   DIRECTV customers with specific instructions and/or assistance (including
 7   installation and maintenance) regarding the instantiation of a MoCA network and the
 8   use of the Accused MoCA Instrumentalities to infringe the ’539 Patent.
 9         485. 313. DIRECTV aids, instructs, supports, and otherwise acts with the
10   intent to cause an end user to make and/or use the MoCA network and/or use the
11   Accused MoCA Instrumentalities to infringe every element of at least claim 1 of the
12   ’539 Patent.
13         486. 314. Additionally, DIRECTV contributes to the customers’ and
14   subscribers’ direct infringement. DIRECTV provides, inter alia, the Accused MoCA
15   Instrumentalities designed and configured to create a MoCA network and operate as
16   nodes in the network, the use of which infringes at least claim 1 of the ’539 Patent.
17         487. 315. The Accused MoCA Instrumentalities have no substantial
18   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
19   connection with the Accused Services provided by DIRECTV, the end user directly
20   infringes at least claim 1 of the ’539 Patent. The Accused MoCA Instrumentalities
21   are therefore especially made or especially adapted for use in an infringing manner.
22         488. 316. DIRECTV’s inducement of, and contribution to, the direct
23   infringement of at least claim 1 of the ’539 Patent has been, and is, continuous and
24   ongoing through the acts described above in connection with DIRECTV’s provision
25   of the Accused Services.
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 1         489. 317. DIRECTV’s infringement of the ’539 Patent is, has been, and
 2   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 3   Entropic’s rights under the patent.
 4         490. 318. Entropic has been damaged as a result of the infringing conduct
 5   alleged above. DIRECTV is liable to Entropic in an amount that compensates
 6   Entropic for DIRECTV’s infringement, which by law cannot be less than a
 7   reasonable royalty, together with interest and costs as fixed by this Court under 35
 8   U.S.C. § 284.
 9         491. 319. Entropic is aware of no obligation to mark any instrumentality with
10   the ’539 Patent in accordance with 35 U.S.C. § 287.
11                                         COUNT VIII
12                            (Infringement of the ’213 Patent)
13         492. 320. Entropic incorporates by reference each allegation of Paragraphs 1
14   through 319.
15         493. 321. The ’213 Patent duly issued on December 5, 2017 from an
16   application filed February 6, 2008, and, inter alia, a provisional application filed on
17   February 6 2007.
18         494. 322. Entropic owns all substantial rights, interest, and title in and to the
19   ’213 Patent, including the sole and exclusive right to prosecute this action and enforce
20   the ’213 Patent against infringers, and to collect damages for all relevant times.
21         495. 323. The ’213 Patent is one of the PQoS Flows Patents, and is generally
22   directed to, inter alia, low-cost and high-speed management of resources within a
23   network in order to secure the capability to distribute multimedia data (such as
24   video/audio, games, images, generic data, and interactive services) between devices
25   within existing on-premises coaxial cable networks. ’213 Patent, col. 3, lines 46–53.
26   The ’213 Patent has 24 claims, of which claims 1, 13, and 23 are independent. At
27   least these claims of the ’213 Patent are directed to a variety of techniques for
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 1   allocating resources for guaranteed quality of service flows in the MoCA network. A
 2   true and accurate copy of the ’213 Patent is attached hereto as Exhibit O.
 3         496. 324. The ’213 Patent is directed to patent-eligible subject matter
 4   pursuant to 35 U.S.C. § 101.
 5         497. 325. The ’213 Patent is valid and enforceable, and presumed as such,
 6   pursuant to 35 U.S.C. § 282.
 7   ///
 8         498. 326. DIRECTV deploys one or more of the Accused MoCA
 9   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
10   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
11   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
12   the Accused Services.
13         499. 327. The Accused MoCA Instrumentalities deployed by DIRECTV to
14   customer premises remain the property of DIRECTV while deployed.
15         500. 328. The Accused MoCA Instrumentalities operate while deployed in a
16   manner controlled and intended by DIRECTV.
17         501. 329. As set forth in the attached non-limiting claim chart (Exhibit P),
18   any product or system operating in a MoCA network compliant with the charted
19   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 1 of the ’213
20   Patent.
21         502. 330. Each aspect of the functioning of the Accused MoCA
22   Instrumentalities described in the claim chart operates while deployed to customer
23   premises in a manner controlled and intended by DIRECTV.
24         503. 331. DIRECTV provides no software, support or other facility to
25   customers to modify any aspect of the functioning described in the claim chart of the
26   Accused MoCA Instrumentalities while deployed to customer premises.
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 1         504. 332. The Accused MoCA Instrumentalities are compliant with MoCA
 2   1.1 and/or MoCA 2.0, as described in the ’213 Patent claim chart, Exhibit P.
 3         505. 333. DIRECTV therefore directly infringes at least claim 1 of the ’213
 4   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
 5   customers.
 6         506. 334. DIRECTV sells the Accused Services to its customers and
 7   subscribers for a fee. Pursuant to the sale of these services, DIRECTV uses the
 8   method recited in at least claim 1 of the ’213 Patent to provide the Accused Services
 9   to DIRECTV’s customers and subscribers through the Accused MoCA
10   Instrumentalities. DIRECTV is therefore engaging in the infringing use of at least
11   claim 1 of the ’213 Patent in order to generate revenue from its customers and
12   subscribers.
13         507. 335. DIRECTV directly infringes at least claim 1 of the ’213 Patent
14   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
15   or otherwise provide Accused Services.
16         508. 336. DIRECTV had knowledge of the ’213 Patent no later than its
17   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
18         509. 337. DIRECTV has been aware that it infringes the ’213 Patent no later
19   than its receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
20         510. 338. DIRECTV has known of or has been willfully blind to the ’213
21   Patent since before the March 9, 2022 communications from Entropic.
22         511. 339. The ’213 Patent issued while or before DIRECTV was a member
23   of MoCA.
24         512. 340. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
25   contributions related to MoCA technology, DIRECTV had knowledge of the ’213
26   Patent before March 9, 2022 or was willfully blind to its existence.
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 1         513. 341. DIRECTV has been aware of its infringement of the ’213 Patent
 2   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
 3   the infringement of the ’213 Patent by MoCA technology, which is deployed by
 4   DIRECTV. The claim charts DIRECTV received approximately three months before
 5   the filing of this Complaint show that the claims of the ’213 Patent are essential to
 6   practicing at least MoCA standards versions 1.1, and/or 2.0.
 7         514. 342. The claims of the ’213 Patent are essential to practicing at least
 8   MoCA standards versions 1.1, and/or 2.0.
 9         515. 343. DIRECTV knew, or was willfully blind to the fact that the
10   technology of the ’213 Patent directly relates to networking over coaxial cable,
11   including MoCA, at least as early as DIRECTV became aware of the existence of the
12   ’213 Patent. Because of its familiarity with, and access to, the MoCA standards,
13   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
14   customers) of instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver
15   DIRECTV services would necessarily infringe one or more claims of the ’213 Patent.
16         516. 344. Since learning of the ’213 Patent and its infringing activities,
17   DIRECTV has failed to cease its infringing activities.
18         517. 345. DIRECTV’s customers and subscribers directly infringe at least
19   claim 1 of the ’213 Patent by using the Accused MoCA Instrumentalities in
20   connection with the Accused Services provided by DIRECTV.
21         518. 346. DIRECTV actively induces its customers’ and subscribers’ direct
22   infringement by providing the Accused Services and associated support.
23         519. 347. For example, DIRECTV actively induces infringement of at least
24   claim 1 of the ’213 Patent by providing the Accused MoCA Instrumentalities to
25   DIRECTV customers with specific instructions and/or assistance (including
26   installation and maintenance) regarding the instantiation of a MoCA network and the
27   use of the Accused MoCA Instrumentalities to infringe the ’213 Patent.
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 1         520. 348. DIRECTV aids, instructs, supports, and otherwise acts with the
 2   intent to cause an end user to make and/or use the MoCA network and/or use the
 3   Accused MoCA Instrumentalities to infringe every element of at least claim 1 of the
 4   ’213 Patent.
 5         521. 349. Additionally, DIRECTV contributes to the customers’ and
 6   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
 7   Instrumentalities that create and are at least substantially all of a MoCA network to
 8   be used to infringe at least claim 1 of the ’213 Patent.
 9         522. 350. The Accused MoCA Instrumentalities have no substantial
10   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
11   connection with the Accused Services provided by DIRECTV, the end user directly
12   infringes at least claim 1 of the ’213 Patent. The Accused MoCA Instrumentalities
13   are therefore especially made or especially adapted for use in an infringing manner.
14         523. 351. DIRECTV’s inducement of, and contribution to, the direct
15   infringement of at least claim 1 of the ’213 Patent has been, and is, continuous and
16   ongoing through the acts described above in connection with DIRECTV’s provision
17   of the Accused Services.
18         524. 352. DIRECTV’s infringement of the ’213 Patent is, has been, and
19   continues to be willful, intentional, deliberate, and/or in conscious disregard for
20   Entropic’s rights under the patent.
21         525. 353. Entropic has been damaged as a result of the infringing conduct
22   alleged above. DIRECTV is liable to Entropic in an amount that compensates
23   Entropic for DIRECTV’s infringement, which by law cannot be less than a
24   reasonable royalty, together with interest and costs as fixed by this Court under 35
25   U.S.C. § 284.
26         526. 354. Upon information and belief, there is no duty to mark any
27   instrumentality with the ’213 Patent in accordance with 35 U.S.C. § 287(a).
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 1                                        COUNT IX
 2                            (Infringement of the ’422 Patent)
 3         527. 355. Entropic incorporates by reference each allegation of Paragraphs 1
 4   through 354.
 5         528. 356. The ’422 Patent duly issued on October 1, 2019 from an application
 6   filed December 5, 2017, an application filed February 6, 2008, and, inter alia, a
 7   provisional application filed February 6, 2007.
 8         529. 357. Entropic owns all substantial rights, interest, and title in and to the
 9   ’422 Patent, including the sole and exclusive right to prosecute this action and enforce
10   the ’422 Patent against infringers, and to collect damages for all relevant times.
11         530. 358. The ’422 Patent is one of the PQoS Flows Patents, and is generally
12   directed to, inter alia, low-cost and high-speed management of resources within a
13   network in order to secure the capability to distribute multimedia data (such as
14   video/audio, games, images, generic data, and interactive services) between devices
15   within existing on-premises coaxial cable networks. ’422 Patent, col. 3, lines 53–60.
16   The ’422 Patent has 20 claims, of which, claims 1, 5, 12–17 are independent. At least
17   these claims of the ’422 Patent are directed to a variety of techniques for allocating
18   resources for guaranteed quality of service flows in the MoCA network. A true and
19   accurate copy of the ’422 Patent is attached hereto as Exhibit Q.
20         531. 359. The ’422 Patent is directed to patent-eligible subject matter
21   pursuant to 35 U.S.C. § 101.
22         532. 360. The ’422 Patent is valid and enforceable, and presumed as such,
23   pursuant to 35 U.S.C. § 282.
24         533. 361. DIRECTV deploys one or more of the Accused MoCA
25   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
26   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
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 1   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
 2   the Accused Services.
 3         534. 362. The Accused MoCA Instrumentalities deployed by DIRECTV to
 4   customer premises remain the property of DIRECTV while deployed.
 5         535. 363. The Accused MoCA Instrumentalities operate while deployed in a
 6   manner controlled and intended by DIRECTV.
 7         536. 364. As set forth in the attached non-limiting claim chart (Exhibit R),
 8   any product or system operating in a MoCA network compliant with the charted
 9   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 1 of the ’422
10   Patent.
11         537. 365. Each aspect of the functioning of the Accused MoCA
12   Instrumentalities described in the claim chart operates while deployed to customer
13   premises in a manner controlled and intended by DIRECTV.
14         538. 366. DIRECTV provides no software, support or other facility to
15   customers to modify any aspect of the functioning described in the claim chart of the
16   Accused MoCA Instrumentalities while deployed to customer premises.
17         539. 367. The Accused MoCA Instrumentalities are compliant with MoCA
18   1.1 and/or MoCA 2.0, as described in the ’422 Patent claim chart, Exhibit R.
19         540. 368. DIRECTV therefore directly infringes at least claim 1 of the ’422
20   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
21   customers.
22         541. 369. DIRECTV directly infringes at least claim 1 of the ’422 Patent
23   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
24   or otherwise provide Accused Services.
25         542. 370. DIRECTV directly infringes at least claim 1 of the ’422 Patent by
26   making, importing, selling, and/or offering for sale the Accused MoCA
27   Instrumentalities in connection with providing the Accused Services over an
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 1   on-premises coaxial cable network, which meets every limitationelement of at least
 2   claim 1 of the ’422 Patent.
 3         543. 371. DIRECTV had knowledge of the ’422 Patent no later than its
 4   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 5         544. 372. DIRECTV has been aware that it infringes the ’422 Patent no later
 6   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 7         545. 373. DIRECTV has known of or has been willfully blind to the ’422
 8   Patent since before the March 9, 2022 communications from Entropic.
 9         546. 374. The ’422 Patent issued while or before DIRECTV was a member
10   of MoCA.
11         547. 375. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
12   contributions related to MoCA technology, DIRECTV had knowledge of the ’422
13   Patent before March 9, 2022 or was willfully blind to its existence.
14         548. 376. DIRECTV has been aware of its infringement of the ’422 Patent
15   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
16   the infringement of the ’422 Patent by MoCA technology, which is deployed by
17   DIRECTV. The claim charts DIRECTV received approximately three months before
18   the filing of this Complaint show that the claims of the ’422 Patent are essential to
19   practicing at least MoCA standards versions 1.1, and/or 2.0.
20         549. 377. The claims of the ’422 Patent are essential to practicing at least
21   MoCA standards versions 1.1, and/or 2.0.
22         550. 378. DIRECTV knew, or was willfully blind to the fact that the
23   technology of the ’422 Patent directly relates to networking over coaxial cable,
24   including MoCA, at least as early as DIRECTV became aware of the existence of the
25   ’422 Patent. Because of its familiarity with, and access to, the MoCA standards,
26   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
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 1   customers) of instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver
 2   DIRECTV services would necessarily infringe one or more claims of the ’422 Patent.
 3         551. 379. Since learning of the ’422 Patent and its infringing activities,
 4   DIRECTV has failed to cease its infringing activities.
 5         552. 380. DIRECTV’s customers and subscribers directly infringe at least
 6   claim 1 of the ’422 Patent by using the Accused MoCA Instrumentalities in
 7   connection with the Accused Services provided by DIRECTV.
 8         553. 381. DIRECTV actively induces its customers’ and subscribers’ direct
 9   infringement by providing the Accused Services and associated support.
10         554. 382. For example, DIRECTV actively induces infringement of at least
11   claim 1 of the ’422 Patent by providing the Accused MoCA Instrumentalities to
12   DIRECTV customers with specific instructions and/or assistance (including
13   installation and maintenance) regarding the instantiation of a MoCA network and the
14   use of the Accused MoCA Instrumentalities to infringe the ’422 Patent.
15         555. 383. DIRECTV aids, instructs, supports, and otherwise acts with the
16   intent to cause an end user to make and/or use the MoCA network and/or use the
17   Accused MoCA Instrumentalities to infringe every element of at least claim 1 of the
18   ’422 Patent.
19         556. 384. Additionally, DIRECTV contributes to the customers’ and
20   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
21   Instrumentalities that create and are at least substantially all of a MoCA network to
22   be used to infringe at least claim 1 of the ’422 Patent.
23         557. 385. The Accused MoCA Instrumentalities have no substantial
24   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
25   connection with the Accused Services provided by DIRECTV, the end user directly
26   infringes at least claim 1 of the ’422 Patent. The Accused MoCA Instrumentalities
27   are therefore especially made or especially adapted for use in an infringing manner.
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 1         558. 386. DIRECTV’s inducement of, and contribution to, the direct
 2   infringement of at least claim 1 of the ’422 Patent has been, and is, continuous and
 3   ongoing through the acts described above in connection with DIRECTV’s provision
 4   of the Accused Services.
 5         559. 387. DIRECTV’s infringement of the ’422 Patent is, has been, and
 6   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 7   Entropic’s rights under the patent.
 8         560. 388. Entropic has been damaged as a result of the infringing conduct
 9   alleged above. DIRECTV is liable to Entropic in an amount that compensates
10   Entropic for DIRECTV’s infringement, which by law cannot be less than a
11   reasonable royalty, together with interest and costs as fixed by this Court under 35
12   U.S.C. § 284.
13         561. 389. Upon information and belief, there is no duty to mark any
14   instrumentality with the ’422 Patent in accordance with 35 U.S.C. § 287.
15                                         COUNT X
16                            (Infringement of the ’910 Patent) 6
17         562. 390. Entropic incorporates by reference each allegation of Paragraphs 1
18   through 389.
19   ///
20         563. 391. The ’910 Patent duly issued on July 24, 2012 from an application
21   filed May 9, 2008, and a provisional application filed May 9, 2007.
22         564. 392. Entropic owns all substantial rights, interest, and title in and to the
23   ’910 Patent, including the sole and exclusive right to prosecute this action and enforce
24   the ’910 Patent against infringers, and to collect damages for all relevant times.
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26   6
      The parties are discussing how they intend to proceed with respect to the ’910
27   Patent. Entropic has included these allegations from the Original Complaint
     pending the result of those discussions.
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 1         565. 393. The ’910 Patent is the Packet Aggregation Patent, and it addresses
 2   the problem in the prior art that “overhead admission is associated with each packet
 3   transmitted through the network,” and such information, “including identifiers,
 4   source and destination addresses, error control fields, etc., is added to the user data
 5   and reduces the availability of network bandwidth for user data.” ’910 Patent, col. 1,
 6   lines 32-37. To address this problem the ’910 Patent is generally directed to, inter
 7   alia, transmitting data over a network, where the transmitting device aggregates
 8   packets that are directed to a common destination node. This reduces the transmitted
 9   packet overhead of the network by eliminating interframe gaps, preamble
10   information, and extra headers. ’910 Patent, col. 1, line 66 – col. 2, line 3. The ’910
11   Patent has three claims, all of which are independent. At least these claims of the
12   ’910 Patent are directed to a variety of techniques for aggregating packet data units
13   in the MoCA network. A true and accurate copy of the ’910 Patent is attached hereto
14   as Exhibit S.
15         566. 394. The ’910 Patent is directed to patent-eligible subject matter
16   pursuant to 35 U.S.C. § 101.
17         567. 395. The ’910 Patent is valid and enforceable, and presumed as such,
18   pursuant to 35 U.S.C. § 282.
19         568. 396. DIRECTV deploys one or more of the Accused MoCA
20   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
21   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
22   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
23   the Accused Services.
24   ///
25         569. 397. The Accused MoCA Instrumentalities deployed by DIRECTV to
26   customer premises remain the property of DIRECTV while deployed.
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 1         570. 398. The Accused MoCA Instrumentalities operate while deployed in a
 2   manner controlled and intended by DIRECTV.
 3         571. 399. As set forth in the attached non-limiting claim chart (Exhibit T),
 4   any product or system operating in a MoCA network compliant with the charted
 5   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 3 of the ’910
 6   Patent.
 7         572. 400. Each aspect of the functioning of the Accused MoCA
 8   Instrumentalities described in the claim chart operates while deployed to customer
 9   premises in a manner controlled and intended by DIRECTV.
10         573. 401. DIRECTV provides no software, support or other facility to
11   customers to modify any aspect of the functioning described in the claim chart of the
12   Accused MoCA Instrumentalities while deployed to customer premises.
13         574. 402. The Accused MoCA Instrumentalities are compliant with MoCA
14   1.1., and/or MoCA 2.0, as described in the ’910 Patent claim chart, Exhibit T.
15         575. 403. DIRECTV therefore directly infringes at least claim 3 of the ’910
16   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
17   customers.
18         576. 404. DIRECTV directly infringes at least claim 3 of the ’910 Patent
19   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
20   or otherwise provide Accused Services.
21         577. 405. DIRECTV directly infringes at least claim 3 of the ’910 Patent by
22   making, importing, selling, and/or offering for sale the Accused MoCA
23   Instrumentalities, which meet every limitationelement of at least claim 3 of the ’910
24   Patent, in connection with providing the Accused Services over an on-premises
25   coaxial cable network.
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 1         578. 406. DIRECTV had knowledge of the ’910 Patent no later than its
 2   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 3         579. 407. DIRECTV has been aware that it infringes the ’910 Patent no later
 4   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 5         580. 408. DIRECTV has known of or has been willfully blind to the ’910
 6   Patent since before the March 9, 2022 communications from Entropic.
 7         581. 409. The ’910 Patent issued while or before DIRECTV was a member
 8   of MoCA.
 9         582. 410. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
10   contributions related to MoCA technology, DIRECTV had knowledge of the ’910
11   Patent before March 9, 2022 or was willfully blind to its existence.
12         583. 411. DIRECTV has been aware of its infringement of the ’910 Patent
13   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
14   the infringement of the ’910 Patent by MoCA technology, which is deployed by
15   DIRECTV. The claim charts DIRECTV received approximately three months before
16   the filing of this Complaint show that the claims of the ’910 Patent are essential to
17   practicing at least MoCA standards versions 1.1, and/or 2.0.
18         584. 412. The claims of the ’910 Patent are essential to practicing at least
19   MoCA standards versions 1.1, and/or 2.0.
20         585. 413. DIRECTV knew, or was willfully blind to the fact that the
21   technology of the ’910 Patent directly relates to networking over coaxial cable,
22   including MoCA, at least as early as DIRECTV became aware of the existence of the
23   ’910 Patent. Because of its familiarity with, and access to, the MoCA standards,
24   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
25   customers) of instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver
26   DIRECTV services would necessarily infringe one or more claims of the ’910 Patent.
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 1         586. 414. Since learning of the ’910 Patent and its infringing activities,
 2   DIRECTV has failed to cease its infringing activities.
 3         587. 415. DIRECTV’s customers and subscribers directly infringe at least
 4   claim 3 of the ’910 Patent by using the Accused MoCA Instrumentalities in
 5   connection with the Accused Services provided by DIRECTV.
 6         588. 416. DIRECTV actively induces its customers’ and subscribers’ direct
 7   infringement by providing the Accused Services through the Accused MoCA
 8   Instrumentalities, and associated support.
 9         589. 417. For example, DIRECTV actively induces infringement of at least
10   claim 3 of the ’910 Patent by providing the Accused MoCA Instrumentalities to
11   DIRECTV customers with specific instructions and/or assistance (including
12   installation and maintenance) regarding the instantiation of a MoCA network and the
13   use of the Accused MoCA Instrumentalities to infringe the ’910 Patent.
14         590. 418. DIRECTV aids, instructs, supports, and otherwise acts with the
15   intent to cause an end user to make and/or use the MoCA network and/or use the
16   Accused MoCA Instrumentalities to infringe every element of at least claim 3 of the
17   ’910 Patent.
18         591. 419. Additionally, DIRECTV contributes to the customers’ and
19   subscribers’ direct infringement. DIRECTV provides, inter alia, the Accused MoCA
20   Instrumentalities designed and configured to create a MoCA network and operate as
21   nodes in the network, the use of which infringes at least claim 3 of the ’910 Patent.
22         592. 420. The Accused MoCA Instrumentalities have no substantial
23   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
24   connection with the Accused Services provided by DIRECTV, the end user directly
25   infringes at least claim 3 of the ’910 Patent. The Accused MoCA Instrumentalities
26   are therefore especially made or especially adapted for use in an infringing manner.
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 1            593. 421. DIRECTV’s inducement of, and contribution to, the direct
 2   infringement of at least claim 3 of the ’910 Patent has been, and is, continuous and
 3   ongoing through the acts described above in connection with DIRECTV’s provision
 4   of the Accused Services.
 5            594. 422. DIRECTV’s infringement of the ’910 Patent is, has been, and
 6   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 7   Entropic’s rights under the patent.
 8            595. 423. Entropic has been damaged as a result of the infringing conduct
 9   alleged above. DIRECTV is liable to Entropic in an amount that compensates
10   Entropic for DIRECTV’s infringement, which by law cannot be less than a
11   reasonable royalty, together with interest and costs as fixed by this Court under 35
12   U.S.C. § 284.
13            596. 424. Entropic is aware of no obligation to mark any instrumentality with
14   the ’910 Patent in accordance with 35 U.S.C. § 287.
15                                          COUNT XI
16                             (Infringement of the ’0,566 Patent)
17            597. 425. Entropic incorporates by reference each allegation of Paragraphs 1
18   through 424.
19            598. 426. The ’0,566 Patent duly issued on November 27, 2012 from an
20   application filed October 15, 2009, and, inter alia, a provisional application filed
21   October 16, 2008.
22            599. 427. Entropic owns all substantial rights, interest, and title in and to the
23   ’0,566 Patent, including the sole and exclusive right to prosecute this action and
24   enforce the ’0,566 Patent against infringers, and to collect damages for all relevant
25   times.
26            600. 428. The ’0,566 Patent is the OFDMA Patent, and is generally directed
27   to, inter alia, “allow[ing] multiple transmitting network devices to transmit under an
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 1   orthogonal frequency divisional multiple access (OFDMA) mode to a receiving
 2   network device.” ’0,566 Patent, Abstract. The ’0,566 Patent has 18 claims, of which
 3   claims 1, 7, 13, and 16 are independent. At least these claims of the ’0,566 Patent are
 4   directed to a variety of techniques for assigning communication resources to one or
 5   more nodes in the MoCA network. A true and accurate copy of the ’0,566 Patent is
 6   attached hereto as Exhibit U.
 7   ///
 8         601. 429. The ’0,566 Patent is directed to patent-eligible subject matter
 9   pursuant to 35 U.S.C. § 101.
10         602. 430. The ’0,566 Patent is valid and enforceable, and presumed as such,
11   pursuant to 35 U.S.C. § 282.
12         603. 431. DIRECTV deploys one or more of the Accused MoCA
13   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
14   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
15   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
16   the Accused Services.
17         604. 432. The Accused MoCA Instrumentalities deployed by DIRECTV to
18   customer premises remain the property of DIRECTV while deployed.
19         605. 433. The Accused MoCA Instrumentalities operate while deployed in a
20   manner controlled and intended by DIRECTV.
21         606. 434. As set forth in the attached non-limiting claim chart (Exhibit V),
22   any product or system operating in a MoCA network compliant with the charted
23   provisions of MoCA 2.0 necessarily infringes at least claim 1 of the ’0,566 Patent.
24         607. 435. Each aspect of the functioning of the Accused MoCA
25   Instrumentalities described in the claim chart operates while deployed to customer
26   premises in a manner controlled and intended by DIRECTV.
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 1           608. 436. DIRECTV provides no software, support or other facility to
 2   customers to modify any aspect of the functioning described in the claim chart of the
 3   Accused MoCA Instrumentalities while deployed to customer premises.
 4           609. 437. The Accused MoCA Instrumentalities are compliant with MoCA
 5   2.0, as described in the ’0,566 Patent claim chart, Exhibit V.
 6           610. 438. DIRECTV therefore directly infringes at least claim 1 of the ’0,566
 7   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
 8   customers.
 9           611. 439. DIRECTV sells the Accused Services to its customers and
10   subscribers for a fee. Pursuant to the sale of these services, DIRECTV uses the
11   method recited in at least claim 1 of the ’0,566 Patent to provide the Accused Services
12   to DIRECTV’s customers and subscribers through the Accused MoCA
13   Instrumentalities. DIRECTV is therefore engaging in the infringing use of at least
14   claim 1 of the ’0,566 Patent in order to generate revenue from its customers and
15   subscribers.
16           612. 440. DIRECTV directly infringes at least claim 1 of the ’0,566 Patent
17   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
18   or otherwise provide Accused Services.
19           613. 441. DIRECTV had knowledge of the ’0,566 Patent no later than its
20   receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
21           614. 442. DIRECTV has been aware that it infringes the ’0,566 Patent no
22   later than its receipt of Entropic’s communication sent to DIRECTV on March 9,
23   2022.
24           615. 443. DIRECTV has known of or has been willfully blind to the ’0,566
25   Patent since before the March 9, 2022 communications from Entropic.
26           616. 444. The ’0,566 Patent issued while or before DIRECTV was a member
27   of MoCA.
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 1         617. 445. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 2   contributions related to MoCA technology, DIRECTV had knowledge of the ’0,566
 3   Patent before March 9, 2022 or was willfully blind to its existence.
 4         618. 446. DIRECTV has been aware of its infringement of the ’0,566 Patent
 5   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
 6   the infringement of the ’0,566 Patent by MoCA technology, which is deployed by
 7   DIRECTV. The claim charts DIRECTV received approximately three months before
 8   the filing of this Complaint show that the claims of the ’0,566 Patent are essential to
 9   practicing at least MoCA standards versions 1.1, and/or 2.0.
10         619. 447. The claims of the ’0,566 Patent are essential to practicing at least
11   MoCA standards versions 1.1, and/or 2.0.
12         620. 448. DIRECTV knew, or was willfully blind to the fact that the
13   technology of the ’0,566 Patent directly relates to networking over coaxial cable,
14   including MoCA, at least as early as DIRECTV became aware of the existence of the
15   ’0,566 Patent. Because of its familiarity with, and access to, the MoCA standards,
16   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
17   customers) of instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver
18   DIRECTV services would necessarily infringe one or more claims of the ’0,566
19   Patent.
20         621. 449. Since learning of the ’0,566 Patent and its infringing activities,
21   DIRECTV has failed to cease its infringing activities.
22         622. 450. DIRECTV’s customers and subscribers directly infringe at least
23   claim 1 of the ’0,566 Patent by using the Accused MoCA Instrumentalities in
24   connection with the Accused Services provided by DIRECTV.
25         623. 451. DIRECTV actively induces its customers’ and subscribers’ direct
26   infringement by providing the Accused Services and associated support.
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 1         624. 452. For example, DIRECTV actively induces infringement of at least
 2   claim 1 of the ’0,566 Patent by providing the Accused MoCA Instrumentalities to
 3   DIRECTV customers with specific instructions and/or assistance (including
 4   installation and maintenance) regarding the instantiation of a MoCA network and the
 5   use of the Accused MoCA Instrumentalities to infringe the ’0,566 Patent.
 6         625. 453. DIRECTV aids, instructs, supports, and otherwise acts with the
 7   intent to cause an end user to make and/or use the MoCA network and/or use the
 8   Accused MoCA Instrumentalities to infringe every element of at least claim 1 of the
 9   ’0,566 Patent.
10         626. 454. Additionally, DIRECTV contributes to the customers’ and
11   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
12   Instrumentalities that create and are at least substantially all of a MoCA network to
13   be used to infringe at least claim 1 of the ’0,566 Patent.
14         627. 455. The Accused MoCA Instrumentalities have no substantial
15   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
16   connection with the Accused Services provided by DIRECTV, the end user directly
17   infringes at least claim 1 of the ’0,566 Patent. The Accused MoCA Instrumentalities
18   are therefore especially made or especially adapted for use in an infringing manner.
19         628. 456. DIRECTV’s inducement of, and contribution to, the direct
20   infringement of at least claim 1 of the ’0,566 Patent has been, and is, continuous and
21   ongoing through the acts described above in connection with DIRECTV’s provision
22   of the Accused Services.
23         629. 457. DIRECTV’s infringement of the ’0,566 Patent is, has been, and
24   continues to be willful, intentional, deliberate, and/or in conscious disregard for
25   Entropic’s rights under the patent.
26         630. 458. Entropic has been damaged as a result of the infringing conduct
27   alleged above. DIRECTV is liable to Entropic in an amount that compensates
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 1   Entropic for DIRECTV’s infringement, which by law cannot be less than a
 2   reasonable royalty, together with interest and costs as fixed by this Court under 35
 3   U.S.C. § 284.
 4         631. 459. Upon information and belief, there is no duty to mark any
 5   instrumentality with the ’0,566 Patent in accordance with 35 U.S.C. § 287(a).
 6                                       COUNT XII
 7                            (Infringement of the ’681 Patent)
 8         632. 460. Entropic incorporates by reference each allegation of Paragraphs 1
 9   through 459.
10         633. 461. The ’681 Patent duly issued on January 29, 2013 from an
11   application filed October 15, 2009 and, inter alia, a provisional application filed
12   October 16, 2008.
13         634. 462. Entropic owns all substantial rights, interest, and title in and to the
14   ’681 Patent, including the sole and exclusive right to prosecute this action and enforce
15   the ’681 Patent against infringers, and to collect damages for all relevant times.
16         635. 463. The ’681 Patent is the Clock Sync Patent, and is generally directed
17   to, inter alia, improving local clock time synchronization between a plurality of
18   nodes in a communication network. ’681 Patent, Abstract. The ’681 Patent has 40
19   claims, of which claims 1, 11, 21, and 31 are independent. At least these claims of
20   the ’681 Patent are directed to a variety of techniques for clock synchronization for
21   nodes in the MoCA network. A true and accurate copy of the ’681 Patent is attached
22   hereto as Exhibit W.
23         636. 464. The ’681 Patent is directed to patent-eligible subject matter
24   pursuant to 35 U.S.C. § 101.
25         637. 465. The ’681 Patent is valid and enforceable, and presumed as such,
26   pursuant to 35 U.S.C. § 282.
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 1         638. 466. DIRECTV deploys one or more of the Accused MoCA
 2   Instrumentalities (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV
 3   C61, DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
 4   DIRECTV HR54, and DIRECTV HS17) in connection with operating and providing
 5   the Accused Services.
 6         639. 467. The Accused MoCA Instrumentalities deployed by DIRECTV to
 7   customer premises remain the property of DIRECTV while deployed.
 8         640. 468. The Accused MoCA Instrumentalities operate while deployed in a
 9   manner controlled and intended by DIRECTV.
10         641. 469. As set forth in the attached non-limiting claim chart (Exhibit X),
11   any product or system operating in a MoCA network compliant with the charted
12   provisions of MoCA 2.0 necessarily infringes at least claim 1 of the ’681 Patent.
13         642. 470. Each aspect of the functioning of the Accused MoCA
14   Instrumentalities described in the claim chart operates while deployed to customer
15   premises in a manner controlled and intended by DIRECTV.
16         643. 471. DIRECTV provides no software, support or other facility to
17   customers to modify any aspect of the functioning described in the claim chart of the
18   Accused MoCA Instrumentalities while deployed to customer premises.
19         644. 472. The Accused MoCA Instrumentalities are compliant with MoCA
20   2.0 described in the ’681 Patent claim chart, Exhibit X.
21   ///
22         645. 473. DIRECTV therefore directly infringes at least claim 1 of the ’681
23   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
24   customers.
25         646. 474. DIRECTV sells the Accused Services to its customers and
26   subscribers for a fee. Pursuant to the sale of these services, DIRECTV uses the
27   method recited in at least claim 1 of the ’681 Patent to provide the Accused Services
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 1   to DIRECTV’s customers and subscribers through the Accused MoCA
 2   Instrumentalities. DIRECTV is therefore engaging in the infringing use of at least
 3   claim 1 of the ’681 Patent in order to generate revenue from its customers and
 4   subscribers.
 5         647. 475. DIRECTV directly infringes at least claim 1 of the ’681 Patent
 6   when it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate
 7   or otherwise provide Accused Services.
 8         648. 476. DIRECTV had knowledge of the ’681 Patent no later than its
 9   receipt of Entropic’s communications sent to DIRECTV on August 9, 2022.
10         649. 477. DIRECTV has been aware that it infringes the ’681 Patent no later
11   than its receipt of Entropic’s communication sent to DIRECTV on August 9, 2022.
12         650. 478. DIRECTV has known of or has been willfully blind to the ’681
13   Patent since before the August 9, 2022 communications from Entropic.
14         651. 479. The ’681 Patent issued while or before DIRECTV was a member
15   of MoCA.
16         652. 480. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
17   contributions related to MoCA technology, DIRECTV had knowledge of the ’681
18   Patent before August 9, 2022 or was willfully blind to its existence.
19         653. 481. DIRECTV has been aware of its infringement of the ’681 Patent
20   no later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
21   the infringement of the ’681 Patent by MoCA technology, which is deployed by
22   DIRECTV. The claim charts DIRECTV received approximately three months before
23   the filing of this Complaint show that the claims of the ’681 Patent are essential to
24   practicing at least MoCA standards versions 1.1, and/or 2.0.
25         654. 482. The claims of the ’681 Patent are essential to practicing at least
26   MoCA standards versions 1.1, and/or 2.0.
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 1         655. 483. DIRECTV knew, or was willfully blind to the fact that the
 2   technology of the ’681 Patent directly relates to networking over coaxial cable,
 3   including MoCA, at least as early as DIRECTV became aware of the existence of the
 4   ’681 Patent. Because of its familiarity with, and access to, the MoCA standards,
 5   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
 6   customers) of instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver
 7   DIRECTV services would necessarily infringe one or more claims of the ’681 Patent.
 8         656. 484. Since learning of the ’681 Patent and its infringing activities,
 9   DIRECTV has failed to cease its infringing activities.
10         657. 485. DIRECTV’s customers and subscribers directly infringe at least
11   claim 1 of the ’681 Patent by using the Accused MoCA Instrumentalities in
12   connection with the Accused Services provided by DIRECTV.
13         658. 486. DIRECTV actively induces its customers’ and subscribers’ direct
14   infringement by providing the Accused Services and associated support.
15         659. 487. For example, DIRECTV actively induces infringement of at least
16   claim 1 of the ’681 Patent by providing the Accused MoCA Instrumentalities to
17   DIRECTV customers with specific instructions and/or assistance (including
18   installation and maintenance) regarding the instantiation of a MoCA network and the
19   use of the Accused MoCA Instrumentalities to infringe the ’681 Patent.
20         660. 488. DIRECTV aids, instructs, supports, and otherwise acts with the
21   intent to cause an end user to make and/or use the MoCA network and/or use the
22   Accused MoCA Instrumentalities to infringe every element of at least claim 1 of the
23   ’681 Patent.
24   ///
25         661. 489. Additionally, DIRECTV contributes to the customers’ and
26   subscribers’ direct infringement. DIRECTV provides at least the Accused MoCA
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 1   Instrumentalities that create and are at least substantially all of a MoCA network to
 2   be used to infringe at least claim 1 of the ’681 Patent.
 3         662. 490. The Accused MoCA Instrumentalities have no substantial
 4   noninfringing uses. When an end user uses the Accused MoCA Instrumentalities in
 5   connection with the Accused Services provided by DIRECTV, the end user directly
 6   infringes at least claim 1 of the ’681 Patent. The Accused MoCA Instrumentalities
 7   are therefore especially made or especially adapted for use in an infringing manner.
 8         663. 491. DIRECTV’s inducement of, and contribution to, the direct
 9   infringement of at least claim 1 of the ’681 Patent has been, and is, continuous and
10   ongoing through the acts described above in connection with DIRECTV’s provision
11   of the Accused Services.
12         664. 492. DIRECTV’s infringement of the ’681 Patent is, has been, and
13   continues to be willful, intentional, deliberate, and/or in conscious disregard for
14   Entropic’s rights under the patent.
15         665. 493. Entropic has been damaged as a result of the infringing conduct
16   alleged above. DIRECTV is liable to Entropic in an amount that compensates
17   Entropic for DIRECTV’s infringement, which by law cannot be less than a
18   reasonable royalty, together with interest and costs as fixed by this Court under 35
19   U.S.C. § 284.
20         666. 494. Upon information and belief, there is no duty to mark any
21   instrumentality with the ’681 Patent in accordance with 35 U.S.C. § 287(a).
22                                     JURY DEMAND
23         Entropic hereby requests a trial by jury on all issues so triable by right.
24                                 PRAYER FOR RELIEF
25   WHEREFORE, Entropic requests that:
26         A.     The Court find that DIRECTV has directly infringed the Patents-in-Suit
27   and hold DIRECTV liable for such infringement;
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 1         B.     The Court award damages pursuant to 35 U.S.C. § 284 adequate to
 2   compensate Entropic for DIRECTV’s past and future infringement of the Patents-in-
 3   Suit, including both pre- and post-judgment interest and costs as fixed by the Court;
 4         C.     The Court increase any award to Entropic by a judicially appropriate
 5   amount;
 6         D.     The Court declare that this is an exceptional case entitling Entropic to
 7   its reasonable attorneys’ fees under 35 U.S.C. § 285; and
 8         E.     The Court award such other relief as the Court may deem just and
 9   proper.
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11
12
13    Dated: July 1November 7, 2023          Respectfully submitted,

14                                           By: /s/ Christina GoodrichDouglas
                                             Jordan Winnard
15                                           Michael T. Pieja (SBN 250351)
16                                           mpieja@goldmanismail.com
                                             Douglas Jordan Winnard (SBN 275420)
17                                           dwinnard@goldmanismail.com
18                                           Goldman Ismail Tomaselli
                                             Brennan & Baum LLP
19
                                             200 South Wacker Dr., 22nd Floor
20                                           Chicago, IL 60606
                                             Tel: (312) 681-6000
21
                                             Fax: (312) 881-5191
22
                                    Christina Goodrich (SBN 261722)
23                                  christina.goodrich@klgates.com
24                                  Connor J. Meggs (SBN 336159)
                                    connor.meggs@klgates.com
25                                  K&L GATES LLP
26                                  10100 Santa Monica Boulevard
                                    Eighth Floor
27                                  Los Angeles, CA 90067
28                                  Telephone: +1 310 552 5000
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 1                                       Facsimile: +1 310 552 5001
 2                                       James A. Shimota (pro hac vice
 3                                       forthcoming)
                                         jim.shimota@klgates.com
 4                                       George C. Summerfield (pro hac vice
                                         forthcoming)
 5                                       george.summerfield@klgates.com
 6                                       K&L GATES LLP
                                         70 W. Madison Street, Suite 3300
 7                                       Chicago, IL 60602
                                         Tel.: (312) 372-1121
 8                                       Facsimile: (312) 827-8000
 9                                       Peter E. Soskin (SBN 280347)
10                                       peter.soskin@klgates.com
                                         K&L GATES LLP
11                                       Four Embarcadero Center, Suite 1200
                                         San Francisco, CA 94111
12                                       Telephone: (415) 882-8200
13                                       Facsimile: (415) 882-8220

14                                       Darlene F. Ghavimi (pro hac vice
                                         forthcoming)
15                                       darlene.ghavimi@klgates.com
                                         K&L GATES LLP
16                                       2801 Via Fortuna, Suite #650
17                                       Austin, TX 78746
                                         Telephone: (512) 482-6919
18                                       Facsimile: (512) 482-6800
19                                       Attorneys for Plaintiff
20                                       Entropic Communications, LLC

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